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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                          :       Chapter 11
                                                               :
SEARS HOLDINGS CORPORATION, et al., :                                  Case No. 18-23538 (RDD)
                       Debtors.1                               :       (Jointly Administered)
----------------------------------------------------------------x
SEARS HOLDINGS CORPORATION, et al.,                            :
                                                               :
                          Plaintiffs,                          :
            v.                                                 :       Adv. Proc. No. 21- _____ (RDD)
                                                               :
1055 HANOVER, LLC and 1 IMESON PARK :
BLVD, LLC,                                                     :
                          Defendants.                          :
----------------------------------------------------------------x



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden,
LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859);
Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp.
(0535); SR – Rover de Puerto Rico, LLC (f/k/a Sears, Roebuck de Puerto Rico, Inc.) (3626); SYW Relay LLC (1870);
Wally Labs LLC (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California
Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
Stores of Texas LLC (8915); MyGofer LLC (5531); Rover Brands Business Unit, LLC (f/k/a Sears Brands Business
Unit Corporation) (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company (Florida),
L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc.
(0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying
Services, Inc. (6533); Kmart.com LLC (9022); Sears Brands Management Corporation (5365); and SRe Holding
Corporation (4816). The location of the Debtors’ corporate headquarters is c/o M-III Partners, LP, 1700 Broadway,
19th Floor, New York, NY 10019.




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          ADVERSARY COMPLAINT FOR TURNOVER OF ESTATE PROPERTY

         Plaintiffs Sears Holding Corporation and its debtor affiliates, as debtors and debtors in

possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), by and through

their attorneys, Weil, Gotshal & Manges LLP, file this adversary proceeding pursuant to 11 U.S.C.

§ 542, 28 U.S.C. § 2201, and Rule 7001 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) against 1055 Hanover, LLC (the “Hanover Landlord”) and 1 Imeson Park

Blvd, LLC (the “Imeson Landlord”) (collectively, the “Landlords” or the “Defendants”) and

allege as follows:

                                         NATURE OF THE ACTION

                   1.          The Debtors bring this adversary complaint against the Defendants to obtain

turnover of prepaid rent that is property of the estates. The Debtors entered into lease agreements

with each of the Landlords and, under each lease, prepaid twelve months rent at the outset of the

lease. The Landlords held the prepaid rent in what amounted to a trust until the month the funds

were to be applied to the Debtors’ rent obligations. Six months into the applicable lease terms, the

Debtors rejected both leases in connection with these chapter 11 proceedings. At the time of

rejection, there was an additional six months of prepaid rent being held by Landlords that had not

yet been applied to the Debtors’ obligations under the leases.

                   2.          Although the Landlords’ right to the additional six months of prepaid rent

had not accrued at the time the Debtors rejected the leases, the Landlords continue to retain custody

and control of this additional prepaid rent—more than $3 million in total—which rightfully

belongs to the Debtors’ estates. Despite the Debtors’ repeated requests to the Landlords to return

this estate property, the Landlords have refused to relinquish the funds, seeking for themselves a

windfall at the expense of the estates and their other creditors. The Landlords also have refused




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to agree that the Debtors can offset the Landlords’ pending administrative expense claims with the

unused prepaid rent.

                   3.          The purpose of turnover is to marshal the assets of the estate for the benefit

of all creditors and to ensure that all creditors are treated fairly and equitably. By refusing to turn

over more than $3 million of the estates’ property held in trust, the Landlords are attempting to

circumvent the Bankruptcy Code and, in doing so, frustrating its purpose. Accordingly, the

Debtors respectfully request that the Court compel the Landlords to turn over the unused rent and

grant the Debtors any further relief, at law or in equity, to which they are entitled.

                                        JURISDICTION AND VENUE

                   4.          Beginning on October 15, 2018 (the “Commencement Date”) and

continuing thereafter, each of the Debtors commenced with the United States Bankruptcy Court

for the Southern District of New York (the “Bankruptcy Court”) a voluntary case under chapter

11 of title 11 of the United States Code (the “Bankruptcy Code”). This adversary proceeding,

brought pursuant to Section 542 of the Bankruptcy Code and Rule 7001(1) of the Bankruptcy

Rules, arises from and is related to these chapter 11 cases (the “Chapter 11 Cases”).

                   5.          The Bankruptcy Court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334.

                   6.          This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2)(A) (matters concerning the administration of the estate) and 28 U.S.C. § 157 (b)(2)(E)

(orders to turn over property of the estate).

                   7.          Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 THE PARTIES

                   8.          The plaintiffs are the Debtors in these Chapter 11 Cases. The Debtors are

authorized to continue to operate their business and manage their properties as debtors in


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possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On October 24, 2018,

the United States Trustee for Region 2 appointed an official committee of unsecured creditors in

connection with the Chapter 11 Cases. The Chapter 11 Cases are being jointly administered for

procedural purposes only pursuant to Rule 1015(b) of the Bankruptcy Rules. On October 15, 2019,

the Bankruptcy Court confirmed the Modified Second Amended Joint Chapter 11 Plan of Sears

Holdings Corporation and Its Affiliated Debtors (as amended, supplemented, or modified in

accordance with its terms, the “Plan”) [ECF No. 5370]. The Plan has not yet gone effective.

                   9.          Before the Commencement Date, the Debtors operated a large retail

business in forty-nine states, Guam, Puerto Rico, and the U.S. Virgin Islands. Among other things,

the Debtors sold products in the appliance, tool, lawn and garden, fitness equipment, and

automotive repair and maintenance sectors. As of the Commencement Date, the Debtors operated

687 department stores under the brand names Sears and Kmart.

                   10.         On information and belief, Defendant Hanover Landlord is a limited

liability company organized under the laws of the State of California, with its principal place of

business in Irvine, California. On information and belief, Defendant Hanover Landlord is a

company which, among other things, owns and leases certain real property, including the property

at issue in this proceeding.

                   11.         On information and belief, Defendant Imeson Landlord is a limited liability

company organized under the laws of the State of California, with its principal place of business

in Irvine, California. On information and belief, Defendant Imeson Landlord is a company which,

among other things, owns and leases certain real property, including the property at issue in this

proceeding.




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                   12.         On information and belief, the Defendants are affiliates that are both owned

and operated by LPA Realty, LLC. On information and belief, LBA Realty, LLC is a full service

real-estate investment and management company.

                                          FACTUAL BACKGROUND

       A.    The Debtors’ Unused Prepaid Rent

                   13.         On April 5, 2018, the Debtors entered into two separate lease agreements:

one lease with the Hanover Landlord for the property located at 1055 Hanover Street, Wilkes

Barre, Pennsylvania (the “Hanover Lease”),2 and another with the Imeson Landlord for the

property located at 1 Imeson Park Boulevard, Jacksonville, Florida (the “Imeson Lease”3 and,

together with the Hanover Lease, the “Leases”).

                   14.         At the commencement of the Leases, the Debtors prepaid $3,710,035.10

of rent under the Hanover Lease and $2,385,798.90 of rent under the Imeson Lease (collectively,

the “Prepayments”). Pursuant to the Leases, the Prepayments were to be held by the Landlords

until they were to be applied toward “Monthly Fixed Rent” for each property, for the period from

November 2018 through October 2019, which would be months seven through eighteen of the

Leases. See Ex. 1 (Hanover Lease) at § 36; Ex. 2 (Imeson Park Lease) at § 36.

                   15.         The Debtors complied with the terms of each of the Leases and timely paid

the Monthly Fixed Rent to the Landlords for months one through six. Pursuant to the terms of

each of the Leases, beginning with month seven of the Leases (November 2018), the Monthly

Fixed Rent was to be debited against the Prepayments for each of the Leases.




2
    A copy of the Hanover Lease is attached hereto as Exhibit 1.
3
    A copy of the Imeson Lease is attached hereto as Exhibit 2.



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                   16.         The Debtors commenced these Chapter 11 Cases on October 15, 2018

(during month six of the Leases), before the Landlords ever debited any of the Monthly Fixed

Rent against the Prepayments.

                   17.         From November 2018 until April 2019 the Prepayments were

appropriately debited and applied as Monthly Fixed Rent for each of the Leases. On April 30,

2019 (the end of the twelfth month of the eighteen-month Leases) the Debtors rejected both of

the Leases. ECF No. 3449 at 6. By rejecting the Leases, the Debtors terminated their obligation

to pay the Monthly Fixed Rent going forward.

                   18.         At the time the Debtors rejected the Leases, the Monthly Fixed Rent for

months thirteen through eighteen of the Leases had not yet accrued and, therefore, the

Prepayments for those months remained property of the estates.

                   19.         The amounts of the Prepayments retained by the Hanover Landlord and

the Imeson Landlord are $1,887,505.50 and $1,210,528.50, respectively, for a total of

$3,098,034.00 (the “Unused Prepaid Rent Amounts”).

      B.     Applicable Terms of the Leases

                   20.         The relevant provisions of the Leases are identical.

                   21.         The Leases define the Prepayments as “an amount equal to . . . twelve (12)

months of Monthly Fixed Rent otherwise due during months seven (7) through eighteen (18) of

the Term (the ‘Prepaid Rent’) . . . .” Ex. 1 (Hanover Lease) at § 36; Ex. 2 (Imeson Park Lease)

§ 36.

                   22.         Section 36 of each Lease further provides:

                   Provided Sears is not in default under this Lease beyond any applicable notice or
                   cure period, Landlord shall apply the Prepaid Rent to Sears’ obligation to pay
                   Monthly Fixed Rent as and when due until the entire amount of the Prepaid Rent
                   has been exhausted; provided, however, if this Lease is terminated due to a



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                   Landlord Default, casualty, condemnation, or the early termination rights described
                   in Section 3 above, then Landlord shall promptly return the unapplied portions of
                   the Prepaid Rent to Sears.

Id. The Leases provide for only two options with respect to the Prepayments: either the Landlords

may apply the Prepayments “as and when due” until exhausted or they are required to return the

Prepayments. See id. The Leases are silent as to the treatment of the Prepayments in the event

that Sears is in default; nowhere in the Leases are the Landlords granted the right to retain the

Unused Prepaid Rent Amounts. See generally id.

                   23.         The Leases also explicitly state that the Landlords are to return unused

amounts of the Monthly Fixed Rent: “If the Termination Date occurs on any day other than the

last day of a calendar month, Sears will be entitled to a refund in an amount equal to Monthly

Fixed Rent and Additional Rent therefore paid under this lease allocable on a per-diem basis to the

remainder of the month.” Ex. 1 (Hanover Lease) at § 4(e); Ex. 2 (Imeson Park Lease) at § 4(e).

Because the Prepayments comprise unused Monthly Fixed Rent, the same refund obligation

applies, and, thus, the Landlords must return the Unused Prepaid Rent Amounts.

       C. The Landlords’ Administrative Expense Claims

                   24.         The Landlords have not only refused to turn over the Unused Prepaid Rent

Amounts; they have actually asserted that the Debtors owe money to them: each of the Landlords

has asserted an administrative expense claim against the Debtors for the period between the

Commencement Date and the rejection of the Leases. The Hanover Landlord has asserted

administrative expense claim #19713 for $75,560.49.                  The Imeson Landlord has asserted

administrative expense claim #19714 for $68,497.

                   25.         In the event that the Debtors do not prevail on their request for turnover of

the Unused Prepaid Rent Amounts, the Debtors, nevertheless, have a right to offset the Landlords’




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administrative expense claims against the Unused Prepaid Rent Amounts, and thus, should not

have to pay the Landlords anything in respect of those claims. However, in an email dated

September 21, 2020, the Landlords objected to the Debtors offsetting the administrative expense

claims against the Unused Prepaid Rent Amounts. Instead, the Landlords continue to press for

payment of their administrative expense claims.

       D. The Debtors’ Efforts to Recover the Funds

                   25.         On August 28, 2020, the Debtors contacted the Landlords in an effort to

recover the Unused Prepaid Rent Amounts. Again, on October 15, 2020, the Debtors (by and

through their attorney, Weil, Gotshal & Manges LLP) contacted the Landlords and explained that

bankruptcy courts have found where a tenant has paid rent in advance, the prepaid amount

remained property of the estate and was thus subject to turnover. But the Landlords rejected the

demands to return the Unused Prepaid Rent Amounts.

                                          GROUNDS FOR RELIEF
                                                COUNT ONE
                                                  (Turnover)

                   26.         The Debtors repeat and re-allege each of the allegations asserted in

paragraphs 1 through 25 above as though fully set forth herein.

                   27.         The Unused Prepaid Rent Amounts are estate property that is subject to

turnover by the Landlords to the Debtors. The Landlords’ right to the Unused Prepaid Rent

Amounts never accrued. The Landlords’ right to the Prepayments accrued on a monthly basis

from months seven through twelve. See Ex. 1 Hanover Lease at § 36; Ex. 2 Imeson Park Lease, §

36. However, once the Debtors rejected the Leases on April 30, 2019 (at the end of the twelfth

month of each Lease) that rejection terminated the Debtors’ future obligation to pay the Monthly




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Fixed Rent as an administrative expense claim. Therefore, the Landlords have no right to the

Unused Prepaid Rent Amounts.

                   28.         The Landlords currently are in possession, custody, and control of the

Unused Prepaid Rent Amounts.

                   29.         The Unused Prepaid Rent Amounts constitute property that the Debtors may

use in accordance with Section 363 of the Bankruptcy Code. See supra ¶¶ 8, 13–19.

                   30.         The more than $3 million in Unused Prepaid Rent Amounts are not of

inconsequential value to the Debtors’ estates. The Debtors could use those funds to make further

distributions to holders of administrative expense claims or to pay additional expenses of the

chapter 11 cases.

                   31.         Although the Unused Prepaid Rent Amounts were held in what amounted

to a trust by the Landlords under the Leases, at all times they remained property of the estates and,

therefore, must be turned over to the Debtors.

                   32.         Accordingly, the Debtors are entitled to an order compelling turnover of the

Unused Prepaid Rent Amounts.




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                                            PRAYER FOR RELIEF

                   33.         For the foregoing reasons, the Debtors respectfully request that the Court

enter an order under 11 U.S.C. § 542(a) of the Bankruptcy Code:

                  i.           Compelling the Hanover Landlord to turn over $1,887,505.50, representing

                               the Unused Prepaid Rent Amounts it holds;

                 ii.           Compelling the Imeson Landlord to turn over $1,210,528.50, representing

                               the Unused Prepaid Rent Amounts it holds; and

                iii.           Granting the Debtors such other and further relief, at law or in equity, to

                               which they are entitled.



Dated: February 23, 2021
       New York, New York

                                                          /s/ Jacqueline Marcus
                                                          WEIL, GOTSHAL & MANGES LLP
                                                          767 Fifth Avenue
                                                          New York, New York 10153
                                                          Telephone: (212) 310-8000
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                                                          Jared R. Friedmann
                                                          Jacqueline Marcus
                                                          Jennifer Brooks Crozier

                                                          Attorneys for Debtors
                                                          and Debtors in Possession




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                                            EXHIBIT 1

                                         HANOVER LEASE




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                                                             LEASE
                                                      BY AND BETWEEN
                                             SEAHS HOLDINGS CORPORATION, as tenant
                                                              AND
                                                1055 HANOVER, LLC, as landlord
                                                    Dated as of April ^ 2018
                                                            Property:
                                               1055 Hanover Street, Wilkes Barre, PA




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                                                     LEASE

          _. THIS LEASE (this "Lease") is made as of the ^ day of April, 2018 r'Etfcctivc Date"),
      between 1055 HANOVER, LLC, a Delaware limited liabiUty company, having an office at 3347
      Michelson Drive, Suite 200 Irvine, California 92612, ^'Lanrflord") and SEARS HOLDINGS
      CORPORATION, a Delaware corporation, having an office at 3333 Beverly Road, Dept. 824RE,
      Hoffman Estates, Illinois 60179 ("Sears")-

                                             WITNESSETH:

                    WHEREAS, pursuant to that certain Purchase and Sale Agreement dated as of
     February 8,2018, between Innovel Solutions, Inc, r'SefJcr"). as sell<^, and Landlord, (as assignee
     irom LBA Realty LLC, a Delaware limited liability company) as buyer (as amended and assigned,
     the "PSA"), Seller agreed to sell to Landlord, and Landlord agreed to purchase from Seller the
     land more particularly described on Exhibit A attached hereto and the other property described in
     the PSA (collectively, the "Property");

                    WHEREAS, as a condition to the closing pursuant to the PSA (the "Closing").
     immediately following the sale of the Property by Seller to Landlord, Landlord is required to lease
     to Sears, and Sears is required to lease from Landlord, the Premises (as defined below) pursuant
     to the temis and conditions of this Lease; and

                   WHEREAS, the Closing under the PSA occurred on the Effective Date and Sears
     and Landlord -msh to enter into this Lease to complete the transaction.

                     NOW, THEREFORE, Seai^ and Landlord agree as follows:

              1.      Demise. Landlord hereby leases to Sears, and Sears hereby leases from Landlord,
      the Premises for the Term. The ''Premises" shall be defined as the premises described on
      Exhibit B attached hei-eto. Sears shall also have the ri^t to use, in common with all other tenants
      and occupants of the Property on a non-exclusive basis, all paricing, access and common areas
      useful in connection with the Property in a manner substantially similar to the manner in which
     same have been used prior to the date hereof, to the extent Landlord possesses or has the right to
      such rights. The Premises shall not include, and Landlord shall retain the sole and exclusive rights
     in, the leases listed on the attached Schedtile 1 (collectively, the "Landlord Retained Leases").
     Landlord shall not amend or modify the Landlord Retained Leases without the prior written
     consent of Sears (which consent shall not be unreasonably widiheld, and shall be granted or
     witliheid within thirty (30) days of request), except only to the extent that neither Sears' operations
     nor Sears' riglits hereunder are materially adversely affected by such amendment or modification,
     Without limiting the foregoing, no modification or amendment shall be made to any Landlord
     Retained Lease to increase the space used under such Landlord Retained Lease or which would
     lesult in any material increased cost to Sears without the prior written consent nf Sears.
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                       2.             Term.                                   l\^S-\^ ^     ^
                        (a)    The tenn of this l^ase (the "Term") shall commence on die Effective Date
        and shall expire at midnight on the last day of the tenth (10th) Lease Year, unless sooner tenninated
        as provided in this Lease.

                       (b)     If the date otherwise scheduled for termination or expiration of this Lease
       is not a Business Day, the Termination Date shall be on the first Business Day thereafter. A
       "Business Day" means any day other than a Saturday, Sunday or other day on which banks are /)-^^
       authorized or required by law to be closed in thejurisdiction in which the Premises is located. A   j ^ ^ ^ P
       *Xeasc Year" means each successive twelve (12) calendar month period commencing on the first 5 ^ % , (O ^
       day of a calendar montli. The first Lease Year shall be die twelve (12) month period commencing     L\' -^
       on the first day of tl\e calendar montii immediately succeeding the month in which the Tci*ra of
       this Lease commences plus any partial calendar month during the calendar month in which tlie
       Term of this Lease commences.

                      3.             Early Termination; Surrender of Possession.

                      (a)     Earl>' Termination By Landlord. In addition to any early termination of
      this Lease that may arise under any other section of this Lease, Landlord may elect to terminate
      thisLeasepriortotheexpirationofdieTerm.butonlyifsuchterminationiscffectiveaflerUielast                    .^
      day of the sixtieth (60th)fiiUcalendar month of the Term; provided, that as a condition precedent
      to such termination, Landlord shall provide not less than nine (9) months' prior written notice of '''
      termination ("Landlord Termination Notice") to Sears. The Landlord Termination Notice shall
      indicate the date of the termination of this Lease, which must be a Busings Day that docs not
      occur between November 15 of a calendar year and January 15 of the next following calendar year
      and which must be after the last day of the sixtieth (60th)fijUcalendar month of the Term.

                      (b)    Surrender of Possession. Upon the first to occur of (i) the expiration of
      the Term, (ii) any sooner termination of this Lease pursuant to any other section of this Lease, or
      (iii) any eariier date as noted in a validly delivered Landlord Termination Notice or Sears
     Termination Notice, as applicable (the first of such dates being the 'Termination Pate"). Sears
     shall smrender possession of the Premises in its "AS-IS," "WHERE-IS" and "Wl'm ALL
     FAULTS" condition,fi:eeof all subtenants, licensees, leases, subleases, concessionaires and other
     occupants claiming by, through or under Sears, and without any obligation by Sears, except as
     provided in the following sentence, to remove any fixtures, fiimishings or equipment or other
     personal property. On or prior to the Termination Date, Sears shall remove any or all of Sears'
     furnishings, movable equipment, mci-chandise, inventory and odier personal property mid may (but
     shall not be required to) remove fixtures (including, without limitation, permanently affixed
     fixtures, such as racking and conveyor systems installed prior to the Effective Date) (all of the
     foregoing items noted in this sentence, collectively, "Scars' Proi>crtv") and any alterations or
     improvements required to be removed by Sears jnirsuant to Section Sfn) below, including repairing
     any damage caused by such removal, ordinary wear and tear excepted. If Sears fails to remove
     any Sears' Property that is required to be removed, any of the same remainingafter the Termination
     Date may be removed by Landlord at Sears' expense or retained by Landlord for its account.

                    4.             Rent.


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                      (a)    As consideration for this Lease, Sears shall pay to Landlord annual fixed
       rent ("Annual Fixed Rent") during each Lease Year in the aggregate amounts set forth on
       Schedule 2 attached hereto. The Annual Fixed Rent then in effect shall be payable in equal
       monthly installments ("Monthly Fixed Rent") in advance on or prior to thefifth(5th) day of each
       month. Monthly Fixed Rent shall be prorated on a per diem basis for any portion of a month.
                       (b)    As "Additional Rent" Sears shall also pay during the Term, in equal
       monthly installments, an amount equal to Landlord's insurance premiums for coverages applicable
       to the Property that Landlord purchases pursuant to this Lease (provided such insurance premiums,
       and the insurance coverages (including deductibles) purchased therewith are commercially
       reasonable and consistent with the types and amounts of coverages that would be purchased by
       prudent owners of properties similar in t>^e to and in the general vicinity of the Property). Sears
       shall also pay any amounts due on a monthly basis for Required CapEx in accordance witli Section
       8rc)(i) below.

                      (c)    Sears shall also pay directly to the relevant authority as and when due. Taxes
     —andrOipon request by Landlord, shall provide Umdluid witlj ieasonable evidence mat ttie same^
      have been paid. For purposes hereof, "Taxes" shall mean all taxes and impositions relating to the
      ownership, leasing and operation of the Property, or any portion thereof including the land, but
      excluding any excess profits taxes,fi-anchisetaxes, gift taxes, inheritance and succession taxes,
      estate taxes, documentary transfer taxes, federal or state income taxes, corporate, capital stock or
      capital gains taxes, penalties incurred as a result of Landlord's failure to pay taxes or to file any
      tax or informational returns and other taxes to the extent applicable to Landlord's general or net
      income (as opposed to rents, receipts or income attributable to operations at the Property).

                     (d)      Landlord shall give prompt notice to Sears of all Taxes and insurance
      premiimis, payable by Sears hereunder of which Landlord at any time has knowledge and shall
      send copies of all bills and notices received by Landlord to Sears. Promptly after receipt of such
      notice of the actual amount of Additional Rent, such amount will be adjusted between Landlord
      and Sears in cash. Provided that Sears is not then in default under this Lease (beyond applicable
      notice and cure periods), Sears reserves therightto audit the books and records of Landlord with
      respect to any component of Additional Rent within one (1) year of the expiration of the year to
      which such Additional Rent relates.

                    (e)     If the Termination Date occins on any day other than the last day of a
      calendar month. Sears will be entitled to a reftmd in an amount equal to Monthly Fixed Rent and
      Additional Rent theretofore paid under this Lease allocable on a per-diem basis to the remainder
      of the month.
                      (f)    The parties acknowledge and agree that Sears shall pay for all of the
      operating costs and expenses (such as, but not limited to, utility costs and phone service) in
      coimection with Sears' use and occupancy of the Premises during the Term, in accordance with its
      customary pracUces, subject to Section 8 and Sectioji 4, and except (i) for costs, expenses and
      damages resultingftx)mthe negligence or willfiil misconduct by Landlord or its agents, employees
      or contractors, but subject to the terms of Section 23(b) below, and (ii) as otlierwisc expressly set
      forth herein.


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                        (g)     Annual Fixed Rent, Monthly Fixed Rent and Additional Rent shall be
        collectively referred to herein as "Rent."

                       (h)    For the avoidance of jioubt, but subject to Section 4, Sears shall be solely
       respoasible for payment of all Taxes from the beginning of the current tax year up to and including
       the Effective Date. Subject to Section 4. all Taxes applicable to the last yearof the Term shall be
       prorated between the parties on a per diem basis based on the most recent and available tax biil
       and adjusted in cash once actual taxes arc known. Landlord shall give prompt notice to Sears of
       all Taxes payable by Sears hereunder of which Landlord at any time has knowledge. Landlord
       shall use its reasonable efforts to obtain the cooperation of all taxing authorities to send all bills
       and notices in respect of the Property directly to Sears^

                       (i)      Sears may, at its own expense, contest or cause to be contested by
       appropriate legal proceedings conducted in good faitli and with due diligence, any Taxes
      (including poialties and interest) upon or against the Property or any part thereof, including,
       without limitation, the amount or validity or application, in whole or in part, of any such it^n,
      provided thai (i) neither the I'roperty nor"any interest therem would be in any danger of being sold,
      forfeited or lost by reason of such proceedings; (ii) no default under this Lease has occmred and
      is continuing; (iii) if and to the extent required by the applicable taxmg authority and/or Landlord,
      Sears posts a bond or takes other steps acceptable to such taxing authority and/or Landlord thai
      removes such lien or stays enforcement thereof; (iv) Sears shall promptly provide Landlord with
      copies of all notices received or delivered by Sears and filings made by Sears in connection with
      such proceeding; and (v) upon termination of such proceedings, it shall be the obligation of Sears
      to pay the amount of any such tax and assessment or part thereof as finally determined in such
      proceedings (or. if applicable, Sears will be entitled to any refiind resulting therefore), the payment
      of which may have been deferred during the prosecution of such proceedings, together with any
      costs, fees (including attorneys' fees and disbursements), interest, penalties or other liabilities in
      connection therewith. Landlord shall, at the request of Sears, execute or join in the execution of
      any instruments or documents necessary in connection with such contest or proceedings, but
      Landlord shall incur no cost or obligation thereby.

                     (i)    Sears shall pay directly to the utility company(ies), the cost of all utilities
      provided to the Premises during the Term.

                     (k)    In light of the fact that Sears is continuing (i) in occupancy following the
     Closing, and (ii) to control the Service Contracts, except as set forth in the PSA, Sears and
     Landlord have not prorated common area maintenance reimbursements or payments under any
     Ancillary Rights and Agreements, expenses under Service Contracts, utilities and other customary
     real property prorations and adjustments as of the Closing.

                 5.          Alterations: "Going out of Business Sale"; Signage.

                     (a)     Except as otherwise provided herein, and subject to the rights of tenants
     under any Landlord Retained Leases, without first obtaining Landlord's prior written consent (such
     consent not to be unreasonably withheld, conditioned or delayed). Sears shall not make or cause
     to be made any alterations to the building structure or building systems or any other material
     alterations or install any additional permanent fixmres to the Premises. Notwithstanding the

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      preceding sentence, Sears (and any of its subtenants, licensees or other occupants) shall not be
      required to obtain any consent from Landlord for (1) any minor or non-slructural alterations to the
      Premises, (2) placing temporary signs on the Property in connection with its store-closing
      operations or (3) any n on-structural alterations to the Premises in connection with any Necessary
      Curtailments, or any other reduction in business operations or reduction in utilizing space within
      the premises that do not affect die exterior of tlie improvements or the building systems, or disturb
      any hazardous materials. "Neccssari' Curtailments'" means alterations, ordinary repairs.
      Casualty, customary acts or events of force majeure, and events beyond the reasonable control of
     Sears. Notwithstanding the foregoing, Sears, at its expense, may at any time and from time to time
     make alterations and/or additions to the Premises, subject to Landlord's prior written conseait (to
     the extent required pursuant to this Section S) not to be unreasonably withheld, condilit)ned or
     delayed, provided tliat (A) the market value of the Premises shall not be reduced or its usefiilness
     impaired, (B) the work shall be done expeditiously and in a good and workmanlike manner,
     (C) Sears shall comply with all legal requirements applicable to the work and (D) Sears shall
     promptly pay all costs and expenses and discharge any and all liens arising in connection with the
     work in accordance with the terms h^eof Notwithstaiiding die foregoing. Sears, at its expense,
     may install or assemble or place on the Premises, and remove and substitute (&nd repair any
     damage caused by such removal and substitution), any items of machinery, equipment, lumiture,
     fimiishings, trade fixtures or other Sears' Property, including, but not limited to, all conveyer and
     material handling systems and related equipment, used or useful in Sears' business; provided, that
     Sears shall be obligated to remove the same on or prior to the end of the Term in accordance with
     ScctionKcl unless Landlord shall have consented, at the time of installation, to the same remaining
     in place following the end of the Term.

                     (b)     Notwithstanding any provision herein to the contrary, but subject to the
     provisions hereof. Sears shall have the right lo conduct a "going out of business sale" to be
     completed during die one hundred twaity (120) day period prior to the expiration of the Term or
     earlier termination of this Lease as provided herein and to cease store operations and to remove
     Sears' Property and prepare for the turnover of possession of the Premises to Landlord pursuant to
     the provisions of this Lease. With respect to a Sears "going out of business sale" and during the
     one hundred twenty (120) day period provided above, (i) Sears shall not place or allow the
    placement of any signage (including, but not limited to, banners, posters, placards and/or stand-
    alone signs, collectively "GOB Signage") on the exterior of the improvements (or on the interior
    of the improvements if such GOB Signage is visiblefi-omthe exterior of the improvements) that
    contains the words/phrases "gomg out of business", "everything must go", "store closing",
    "liquidation sale", "complete liquidation" or phrases of similar wording and/or intent; provided
    tiiat Sears may place GOB Signage with the words "Seai-s Store Closing" or "Sears Store Closing
    Sale" on the exterior of the improvements (or on the interior of the improvements which is visible
    firom the exterior of tlie improvements) so long as such GOB Signage is professionally prepared
    and installed, and of a reasonable size; (ii) Scare' GOB Signage may include discount pricing
    information; and (ui) Sears shall not place or allow the placement of any GOB Signage on the
    exterior surface of the improvements (except as provided above) or within the common areas of
    the Property.

                  (c)      Sears shall have the option to erect and maintain, subject to applicable legal
    requirements and matters of titie to wliich tliis Lease is subordinate and Ancillary Riglits and
    Agreements, at its sole cost and expense, upon any portion of the Property or improvements, signs

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      of such height and other dimensions bearing such legend or inscription as Sears shall detemiine,
      and which are generally consistent in size and quantity with the signs in existence as of the
      Effective Date, and consistent with the nature and quality of the Property.

                   6.           Use; Operation.

                     (a)      Sears shall not have any obligation to continuously operate or use or
     conduct business in or on any portion of the Premises. Sears may use the Premises, if Sears
     operates at all, solely for the operation of a warehouse and distribution facility, and for purposes
     in connection with or incidental to the cessation of Sears' operations on the Premises as such,
     including, without limitation, the sale of Sears' Property locate at the Premises. Sears shall, at
     Scars' sole cost and expense, use and operate the Premises, if Sears operates at all, in compliance
     with law, which obligations shall include without limitation (but subject to and without limiting
     the provisions of Section 4.12 of the PSA) the requirement that Sears obtain all zoning and
     occupancy pemiits necessary to occupy the Premises at its sole cost and expense; provided,
     however, that Sears shall not be obligated to ncrfoixn anv capital expenditures or structural
     improvements necessary in order to comply with law, except to the extent that such capital
     expenditure or structural improvements arc necessitated by (subject in all respects to Sears' rights
     and determinations as provided in Section 8(c)(i> below) (a) any laws in effect and applicable to
     the Premises prior to the Closing Date, (b) any use of the Premises by Sears that is not substantially
     consistent vnth Sears' use as a warehouse and distribution facility, or (c) any alterations or
     improvements made by Sears to the Premises.

                      (b)      Without limiting the foregoing, Sears will continue to enjoy the benefit of
     all existing easements, paricing agreements, riglits of access and ingress, and all other rights and
     benefits as it currently enjoys (including under all applicable REAs and supplemental agreements,
     if any) witii respect to the Property (all of the foregoing, collectively, "Aacillan' Rights and
     Agreements"), and in furtherance thereof. Landlord agrees to enforce (and cause its AfGliates to
     enforce) all such Ancillary Rights and Agreements (excluding opeiating covenants) for the benefit
     of Sears. Sears agrees to continue to comply with the non-monetary provisions (if any) of tJie
     Ancillary Rights and Agreements that are applicable to the Premises (which, for the avoidance of
     doubt, does not include property that is subject to a Landlord Retained Lease) in accordance with
     its past practices in the ordinary course of business. Landlord shall not terminate, amend or modify
     the Ancillary Rights and Agreements without Sears' consent (which consent shall not be
     unreasonably withheld, and shall be granted or withheld within thirty (30) days of request).

             7.      Access and Cooperation. Upon not less than one (1) Business Day's prior notice
     to Sears, Landlord and its representatives shall have access to the Premises for purposes of visual
     inspections, and upon not less than five (5) Business Days prior notice to perform inspections and
     tests of The Property, in each case during normal business hours; provided, however, tiiat in
     emergency circumstances Landlord and its representatives may have immediate access to the
     Premises at any liinu after making all reasonable attempts to contact Scars, but otherwise without
     the necessity of prior notice. In connection with any such access or entry, and in comiection with
     any access or entry by or on behalf of Landlord to perfonn any work pennitted or required to be
     perfonncd by Landlord as provided herein, Landlord and its representatives shall (a) not
     unreasonably interfere with or disturb Sears' or any subtenant's, licensee's or other occupant's
     business operations at the Premises, and (b) promptiy restore or repair any damage occasioned by

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      such access or entry. In addition, notwithstanding anything to the contrary contained herein, and
      without limiting any other provision herein, in connection with any work to be performed by
      Landlord as required or permitted herein, (i) Landlord shall notify Sears within a reasonable time
      prior to the commencement of such work and afford Sears the opportunity to have a representative
      present during the perfomiance of such work, (ii) Landlord shall use commercially reasonable
      efforts to coordinate the timing, scope and location of such work with Sears, (iii) Landlord shall
      perform such work, or cause such work lo be performed, expeditiously and in a good and workman
      like manner using industry standard methods, materials and finishes as reasonably selected by
      Landlord, (iv) all architects, engineers and other construction professionals engaged by or on
     behalf of Landlord shall be experienced, financially responsible and duly licensed in the
     jurisdiction in which the Property is located and charge competitive and otherwise reasonable
     rates, (v) all contractors engaged by or on behalf of Landlord shall be bondabie, (vi) Landlord and
      its agents shall comply with good safety and security practices in performing tiie work and shall
     keep the Premises free from accumulations of waste and/or rubbish caused by or in connection
     with tl^Q work, (vii) Landlord shall, and shall cause its agents, to comply with all applicable laws
     in connection with the work and Landlord shall obtain all permits and authorizations necessary to
     conduct the work and (viii) Landlord shall maintain and cause its construction professionals to
     maintain customary insurmice coverage with customary limits with respect to any work performed
     by or on behalf of Landlord. Each party shall indemnify, protect, defend and hold harmless the
     other against Loss resulting from the work performed (or required to be p^foi-med) by the
     indemnifying party (including, wifliout limitalion, any Loss resulting ft-om the failure of the
     indemnifying party to perform the work as and when required hereunder), which indemnity shall
     survive the Termination Date.

                  8.          Services and Repairs.

                    (a)    Subject to the provisions of this Section 8 and the other terms and conditions
    of this Lease, Sears shall accept the Premises and Property in its existing condition as of the
    Effective Date, "as is," "where is," and *Svith all faults" and without any written or verbal
    representations or wairanties whatsoever, whether express or implied, and except for any survi ving
    prx)visions of the PSA and any ancillary documents executed in conna;tion therewith, for the
    period of such survival.

                    (b)     Subject to the foregoing and the following provisions of this Section 8 and
    the other terms and conditions of this Lease, Landlord shall have no obligation to supply any
    services or make any ordinary repairs to the Premises or Property, the parties expressly intending
    that subject to the further provisions of tiiis Section 8 and the other teiins and conditions of this
    Lease, Seais' current arrangements for all other services and general maintenance and ordinary
    repairs shall continue at Sears' election unaffected during die Term (and Landlord shall not
    interfere with same).

                   (c)     Scars may, but shall have no obligation to, make capital expenditures as
    Sears deems necessary or desirable. Subject to the provisions hereinafter set forth and Section 5.
    Sears and not Landlord shall be responsible for all ordinary repair and maintenance of the Premises
    required to keep the Premises in good condition and repair (as reasonably delennined by Landlord
    and Sears), and in any event, shall include all repair and maintenance required to comply with
    applicable law and remedy any condition that creates a heaUh and safety concern, or could

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     reasonably be expected to result in material damage to the Premises (the "Maintenance
     Standard"), however. Landlord, and not Sears shall be responsible for performing any immediate
     required repair and maintenance to the Premises (i.e., to remedy a condition or circumstance that
     exists as of the Effective Date), and Sears shall reimburse Landlord for any such work completed
     within the Deferred Maintenance Period (as the same may be extended as provided herein), as
     additional rent, but Sears total out-of-pocket costs for such work shall not exceed the Deferred
     Maintenance Amount (as that term is defined below) in the aggregate, and fiirther provided,
     however, the parties' obligations for performing and paying for capital expenditures is fiirther
     provided below. For the avoidance of doubt, the immediate required repair and maintenance work
     described in the preceding sentence is separatefi-omthe Deferred Maintenance Work and Required
     CapEx and Sears* total costs in connection with the Deferred Maintenance Woric and such
     immediate required repair and maintenance shall never exceed the Deferred Maintenance Amount.

                             (i)     Subject to the following terms of this Section gfc)^). Sears'
     obligation to maintain the Premises in accordance with the MEuntenance Standard does not include
     the obligation to perform any capital expenditures, but includes certain obligations to pay for such
     capital expenditures as set forth below.

                             (A)     Notwithstanding anything to the contrary set forth herein, as of the
     date hereof, certain work (collectively, the "Deferred Maintenance Work") more particularly
     described on Schedule 3 attached hereto, has not yet been performed by Sears, but is required to
     be performed in order to satisfy the Maintenance Standard. The parties agree that, Landlord, not
     Sears, shall be responsible for performing all of the Deferred Maintenance Work, at Sears' sole
     cost and expense, except as set forth below, and that Landlord shall substantially complete such
     work within twelve (12) months of the Effective Date (the "Deferred Maintenance Period");
     provided that the Deferred Maintenance Period shall be extended on a day for day basis for each
    day Landlord is delayed in performing or completing the Deferred Maintenance Work as the result
    of any action or inaction by Scars or any of Sears' agents resultingfi-omthe requirements described
    in the last sentence of this paragraph, and any event force majeure, so long as Landlord has notified
    Sears of such event of force majeure or action or inaction by Sears or its agents that is causing
    such delay. The cost of the Deferred Maintenance Work in the aggregate amount of One Himdred
    Sixty One Thousand Dollars ($161,000.00) (the "Deferred Maintenance Amount"), shall be
    deducted from the "Purchase Price" (as defined in the PSA) and credited to Landlord at Closing.
    Landlord shall be responsible for all costs of the Deferred Maintenance Work in excess of the
    Deferred Maintenance Amount and shall promptly return to Sears any Deferred Maintmance
    Amount which has not been used on or before the expiration of the Deferred Maintenance Period
    (as the same may be extended as provided herein). Landlord shall provide Sears with copies of all
    invoices associated with the Deferred Maintenance Work. Sears reserves the right to audit the
    books and records of Landlord with respect to the Deferred Maintenance Work for a period of one
    (1) year after the expiration of the Deferred Maintenance Period (as the same may be extended as
    provided herein). Without limiting any othei- provision hereof, Landlord shall (i) use commercially
    reasonable efforts to coordinate the timing, scope and location of the performance of the Deferred
    Maintenance Work with Sears, (ii) perfonn the Deferred Maintenance Work in a manner which
    does not unreasonably interfere with Sears' use and enjoyment of the Premises (or tire use and
    enjoyment of the Premises by any subtenants, licensees or customers of Sears), and (ii) notify
    Sears within a reasonable time prior to the commencement of any Deferred Maintenance Work
    and afford Sears the opportunity to have a representative present during the performance of the

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      same, provided that any delay in the performance or completion of the Deferred Maintenance
      Work resuhing directly or indirectly fi-om the foregoing requirements shall extend the Deferred
      Maintenance Period as (and subject to the notice) indicated above.

                            (B)    In the event that a capital expenditure, besides the Deferred
     Maintenance Work, is appropriate or necessary to maintain the Premises consistent with the
     Maintenance Standard, as reasonably determined by Landlord or Sears (a "Re<mircd CapEx").
     and the aggregate cost of such Required CapEx is reasonably estimated by Sears, together with all
     previous Required CapEx, to exceed $500,000, exclusive of any amounts paid by Sears for
     ordinary repairs and maintenance as provided in Section 8(b) (the "Required CanEx Max").
     Sears does not have any requirement to perform or fiind such Required CapEx, but Sears shall
     notify Landlord of the necessity and the cost (or reasonably estimated cost) of such Required
     CapEx. Landlord shall have the opportunity for a period often (10) business days after receipt of
     such notice from Sears to notify Sears that Landlord irrevocably commits to fiind the amount of
     such Required CapEx in excess of the Required CapEx Max. If Landlord timely commits to fund
     such Required CapEx in excess of the Required CapEx Max, Sa-dra shall make any such Requited
     CapEx (subject to the terms and provisions of this Lease and subject to reimbursement by Landlord
     as set forth above); provided that Sears shall reimburse Landlord for the amortized cost of such
     Required CapEx fiinded by Landlord (amortized over the usefiil life of the Required CapEx) on a
     monthly basis over the remainder of the Term in the event that the cost of such particular Required
     CapEx in excess of the Required CapEx Max funded by Landlord exceeds Two Hundred and Fifty
     Thousand Dollars ($250,000.00), and provided that Sears shall have no responsibility to reimburse
     Landlord for such amortized costs during the first two (2) years of the Term unless such Required
    CapEx in excess of the Required CapEx Max is necessary to address significant health and safety
    concerns in or on the Premises and Sears shall have no obligation to reimburse Landlord for the
    amortized costs of any Required CapEx that costs Two Hundred and Fifty Thousand Dollars
    ($250,000.00) or less. Alternatively, Landlord may elect to instead perform the Required CapEx
    in excess of the Required C ^ E x Max on behalf of Sears, at Landlord's sole cost and expense,
    subject to the foregoing reimbursement of annual amortized costs. If Landlord elects to perfonn
    the Required CapEx as provided above, Landlord shall do so on a timely basis and in consultation
    with Sears. If Landlord does not timely irrevocably commit to fund the amount of such Required
    CapEx or to perform the Required CapEx, in each case in excess of the Required CapEx Max, and
    the failure to perfonn the Required CapEx would create a health and safety concern, cause the
    Premises to fail to comply with applicable laws, or otherwise affect Sears ability to conduct
    business fi:om the Premises, then Sears shall have the right to send a Sears Notice and follow the
    procedures set forth in Section IQfb).

                          (i)     Except as expressly set forth above and elsewhere in this Lease,
    Sears shall have no obligation to make any repairs or replacements or capital expenditures of
    whatever nature during the Term (except as and to the extent necessitated by Sears' failure to
    perform general maintenance with re-spect to the Premises in accordance with paragraph (c)
    above), but Sears may do so at any time at its election. Sears may continue to exercise and enforce
    exclusively any and all rights of tiie owner or landlord under the Service Contracts (including,
    without hmitation, with respect to maintenance and upkeep of the Premises), and Landlord agrees
    to reasonably cooperate with Sears at no cost to Landlord in connection therewith.

                  9.            InsMraiiee: Casualty.

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                       (a)    Sears shall maintain all personal property and liability insurance programs
      presently in effect or as replaced by Sears from time to time in accordance with its general
      corporate policies throughout the Term; provided, however, at a minimum. Sears shall carry
      (i) commercial general liability insurance with limits of at least $15,000,000 per occurrence,
      (ii) commercial automobile liability coverage, and (iii) worker's compensation or other similar
      insurance pursuant to all applicable state and local statutes and regulations. Such policies shall
      name "Sears Holdings Corporation" as named insured thereunder and shall name Landlord and, at
      Landlord's request, such other persons or entities of which Sears has been infonned in writing, as
      additional insureds thereunder, all as their respective interests may appear. Landlord shall
     maintain a "Lessor's Risk" policy of Uability insurance, all-risk property damage insurance
     covering the Premises and other building improvements on the Property (including, but not limited
     to, earthquake and/or flood insurance), pollution legal liability coverage, and such other types and
     amounts of coverage that commercially reasonable and consistent with the types and amoimts of
     coverages that would be purchased by prudent owners of properties similar in type to and in the
     general vicinity of the Property, and Sears shall pay to Landlord the costs of insurance maintained
     by Landlord in accordance with this Se^JOn 9fa). as set forth in Section 4 above and this Section
     9(a). In addition, Sears shall reimburse Landlord as additional rent for any property insurance
     deductibles incurred during the Term, not to exceed $15,000 per claim. Landlord may maintain
     the foregoing coverages pursuant to a blanket and/or umbrella policy. Upon request from
     Landlord, Sears shall provide certificates of insurance evidencing that Sears is then satislying the
     insurance requirements set forth above. Upon request from Sears, Landlord shall provide
     certificates of insurance evidencing that Landlord is then satisfying the insurance requirements set
     forth in this Lease.

                     (b)    This Lease shall terminate at tlie election of Sears upon the occurrence of a
     fire or other casualty ("Casu^tv") which results in material damage to the Premises (i.e., fiie
    portion of the Premises that is destroyed or damaged is twenty-five percent (25%) or more of the
     heated floor area of the Premises or the portion of the Premises that is destroyed or damaged
    materially affects Sears' use and occupancy of the Premises, with an appropriate prorated reftmd
    to Sears on a per-diem basis of all prepaid Monthly Fixed Rent and Additional Rent. If this Lease
    is not terminated pursuant to the preceding sentence, then in the event of a Casualty, all Monthly
    Fixed Rent and Additional Rent with respect to the portion of the heated floor area of the Premises
    which is affected by the Casualty, not usable and not acmally used by Sears shall be abated on a
    per-square-foot basis. If this Lease is terminated as provided herein, Sears, at Sears' election, shall
    have a period of up to one hundred twenty (120) Business Days (as elected by Sears), for the
    purpose of winding down its business operations and removing any or all Sears' Property at its
    election from the Premises, but Sears shall pay Rent at the rate set forth herein during the Lease
    Year in which the Casualty occurs for any period beyond such date of termination that Sears
    remains in possession of the Property (such Rent with respect to the portion of the Premises which
    is damaged shall be abated on a per-square-foot basis). To the extent that the Lease is terminated
    pursuant to tiiis patagiaph, neither Sears nor Landlord shall be obligated to make any repairs or
    restorations in the event of damage to the Premises resulting from a Casualty. If this Lease is not
    terminated pursuant to the preceding sentence, then in the event of a Casualty, Sears shall repair
    and restore the Sears' personal property to the extent deemed necessary or desirable by Sears in
    Sears sole discretion, but Sears shall only be obligated to repair and restore the Premises to the
    extent of proceeds of insurance made available by Landlord or to the extent Landlord pays all costs
    and expenses of such restoration. Notwithstanding the foregoing, this Lease shall not terminate as

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      the result of any Casualty that occurred prior to the Effective Date that did not result in Landlord
      (or its affiliate which is a party to the PSA) having a right to terminate the PSA.

                      (c) - If Landlord shall be,advised by a condemning authority or otherwise has
     knowledge of a proposed condemnation or other taking of the Property (or a portion thereof), then
      Landlord shall promptly give notice thereof to Sears. Upon any actual exercise by any
     governmental power (by legal proceedings or otherwise), by any public or quasi-pubhc authority
     or by any other Person having the right of eminent domain or a voluntary sale or transfer by
     Landlord to any of the foregoing either under the threat of exercise of eminent domain or while
     legal proceedings for condemnation ai-e pending with respect to a mateiial portion of tiie Premises
     (i.e., twenty-five percent (25%) or more of the heated floor area of the Premises or the portion of
     Property taken materially affects the use and occupancy of the Premises) (collectively, a
     "Condeinnation Action"), this Lease shall automatically terminate, except as provided below, as
     of the date on which title to the property subject to the Condemnation Action is vested in the
     condemnor. Sears, at Sears' election, shall have a period of up to one hundred twenty (120)
     Business Days (as elected by Sears) after Sears receives notice of a Condemnation Action (but in
     no event later than the date of the actual Condemnation Action) during which to wind down its
     business operations and remove any or all of Sears' Property at its election from the Premises, and
     shall continue to pay Monthly Fixed Rent and Additional Rent for such period after the date this
     Lease automatically terminates. Sears shall not have any right to any portion of the proceeds of
     any award for a Condemnation Action, but shall have the right to make a separate claim for its loss
     of profit, relocation costs, goodwill, signage, personal properly and trade iirxtures and retain any
     award applicable thereto. Landlord shall cooperate with Sears in coimection witii such claim and
     Landlord shall not have any rights to recover any amounts in connection wifii such claim.

                  10.          Default.

                               (a)    By Sears.

                            (i)     Defaults by Sears are: (A) failing to thnely pay Monthly Fixed Rent
    or Additional Rent, if sudi Monthly Fixed Rent and/or Additional Rent is not paid within seven
    (7) Business Days after receipt of written notice from Landlord of nonpayment; or (B) failing to
    observe or perft)rm any other material obligations of Sears hereunder for a period of thuly
    (30) days after receipt of written notice from Landlord of such failure (or such longer period as
    may be reasonably required to ciwe such faj lure, provided that Sears is diligently prosecuting such
    cure to completion). In the event of any default by Sears that could reasonably be expected to
    result in material damage to the Premises (which, for the avoidance of doubt, includes Sears'
    failure to perform Required CapEx as and to the extent required in Section 8(c)(i)), Landlord may
    give Scans wiitten notice ("Landlord Notice") of landlord's intention to cure any or all such
    defaults of Sears. Scars may, within five (5) days of the receipt of a Liindlord Notice, either (i)
    bring an actiart in any court of competent jurisdiction disputing the existence of such default, or
    (ii) notify Landlord of Scars' intention to promptiy pay to Landlord the reasonable cost of curing
    such dcfault(s) upon demand including reasonable documentation of the actual, out of pocket costs
    of Landlord in curing such defaulf(s). If Landlord has proceeded to cure Sears' default after
    expiration of Scars' response period without response from Sears, tiien Sears shall promptiy pay
    to Landlord such reasonable and documented actual out-of-pocket costs, provided tiiat no action
    by Landlord in a court of competent jurisdiction remains outstanding with respect to the existence

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     of such d©fauU(s). As Landlord's additional remedy for a default by Sears, Landlord may give
     Sears written notice of Landlord's intention to terminate this Lease (the ' 'D efa a It Tc r m I n ation
     Notice") at the end of the expiration of thirty (30) days from the date of the giving of such Default
     Termination Notice, and, in such event, this Lease and the Term shall terminate upon the expiration
     of such thirty (30) days with the same effect as if the last of such thirty (30) days was the date
     originally set forth herein for the expiration of the Term. No default shall be deemed to exist under
     clause (B) during any time the curing thereof is prevented by Necessary Curtailments provided
     that upon the cessation of such Necessary Curtailments (subject to Section 9) Sears shall prosecute
     such cure without fiirther delay.

                                (ii) ff (A) Sears becomes bankrupt, makes an assignment for the benefit
     of creditors, or applies for or consents to the appointment of a trustee or receiver for Sears or for
     the major part of its property; (B) a trustee or receiver is appointed for Sears or for the major part
     of its property; or (C) any voluntary or involuntary proceedings are filed by or against Sears under
     any bankmptcy, insolvency or similar laws, Landlord may give Sears written notice of intention
     to terminate thiQ Leoao (the "Banknmte^' Termination Notice*') at the end of the ejtpiration of
     thirty (30) days from the date of giving such Bankruptcy Termination Notice, and in such event,
     this Lease and the Term shall terminate upon the expiration of such thirty (30) days with the same
     effect as if the last of such thirty (30) days was the date originally set forth herein for the expiration
     of the Temi.

                            (iii)   Upon any default by Sears under this Lease, Landlord may terminate
     this Lease and recover possession of the Premises. Once Landlord has terminated this Lease, Sears
     must promptiy surrender the Premises to Landlord. On termination of this Lease, Landlord may
     recover from Sears all of the following; provided, that, in no event shall Sears be liable for any
     consequential, special, punitive or other similar damages:

                                  (A)     The worth at the time of the award of any unpaid Rent that
     had been eamed at the time of the termination; plus

                                  (B)    The worth at the time of the award of the amount by which
     the unpaid Rent that would have been eamed between the time of the termination and the time of
     the award exceeds the amoimt of unpaid Rent that Sears proves could reasonably have been
     avoided;

                                     (C)    The worth at the time of the award of the amount by which
     the unpaid Rent for the balance of the Term after the time of the award exceeds the amount of
     unpaid Rent that Sears proves could reasonably have been avoided; provided, that, Sears shall be
     deemed to have delivered a Sears Termination Notice as of the earlier of the date of Sears' default
     giving rise to the termination of the Lease or the date of any actual delivery of a Sears Tennination
     Notice; and

                                  (D)    Any other amount necessary to compensate Landlord for all
    the detriment proximately caused by Sears' failure to perform obligations under this Lease, or
    which in the ordimiry course of things would be likely to result therefrom, including any amounts
    incurred by Landlord to cure a default as provided in Section lO(a)fi) above, to the extent not
    otherwise paid by Sears.


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                             (iv)    No member, partner (geneial or limited), manager, officer, director,
       shareholder or principal of Sears shall have any personal liability whatsoever for the payment or
       collection of any judgment requiring the payment of money by Sears in the event of a default by
       Sears with respect to the terms, covenants-and conditions of tiiis Lease to be observed and/or
       performed by Sears.

                               (v)    If Landlord does not elect to terminate this Lease on account of any
       default by Sears, Landlord may enforce all of Landlord's rights and remedies under this Lease,
       including the right to recover all Rent as it becomes due; provided, that. Sears shall be deemed to
       have delivered a Sears Termination Notice as of tlie eariier of the date of Sears' default giving rise
       to Landlord's right to terminate the Lease or the date of any actual delivery of a Sears Termination
       Notice.

                             (vi)    Without regard to the provisions of Section \Q(a)(i) above, in the
     event that Sears shall pay any installment of Rent more than five (5) Business Days after the date
    _Dn which snrh instalbnf^t is due, Sears shall pay to Landlord a Into fee in the amount of two
     percent (2%) of the amount not timely paid (the "Late Fee") promptly upon receipt of written
     notice from Landlord demanding payment of the same; provided, that not more than once per
     Lease Year, no Late Fee shall be due until such unpaid amount is more than twenty (20) calendar
     days past due. The Late Fee shall be Additional Rent, and the right to require it shall be in addition
     to all of Landlord's oflier rights and remedies hereunder or at law and shall not be construed as
     liquidated damages or as limiting Landlord's remedies in any manner.

                                 (b)   By Landlord.

                               (i)    Defaults by Landlord are (i) failing to timely pay any amount to be
      paid by Landlord hereunder, if such amoimt is not paid within seven (7) business days after receipt
      of written noticefixiraSears of nonpayment; or (ii) failing to observe or perform any other material
      obligations of Landlord hereunder for a period of thirty (30) days after receipt of written notice
      from Sears of such failure (or such longer period as may be reasonably required to cure such
      failure, provided that Landlord is diligently prosecuting snch cure to completion). In the event of
      any default by Landlord, Sears may give Landlord written notice ("Sears Notice") of Sears'
     intention to cure any or all defaults of Landlord. Landlord may, within five (5) days of the receipt
      of a Sears Notice, either (i) bring an action in any court of competent jurisdiction disputing the
     existence of such default, or(ii) notify Sears of Landlord's intention to promptly pay to Sears the
     reasonable cost of curing such defauU(s) upon demand including reasonable documentation of the
     acmal, out of podcet costs of Sears in curing such default(s). If Sears has proceeded to cure
     Landlord's default, then following delivery of a second Sears Notice, delivered not less than five
     (5) days after die first Sears Notice related to such default, allowing Landlord five (5) days to repay
     Sears reasonable and documented acmal out-of-pocket costs, and, provided that no action by
     Landlord in a court of competent jurisdiction remains outstanding with respect to the existence of
     such default(s). Sears may set off against the Rent all reasonable actual, out-of-pocket, cost of
     curing all defaults of Landlord (including any costs associated with an action brought by Landlord
     disputing the existence of such default(s) to the extent such court of competent jurisdiction finds
     that any such default did exist) at the end of the expiration of five (5) days from the date of the
     giving of such second Sears Notice; provided, however, that Sears' right to set off shall be capped
     at 50% of Monthly Fixed Rent in any one month, with any additional amounts to be carried forward


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         to the subsequent month(s). Sears shall also have the option in the Sears Notice, provided that no
         action by Landlord in a court of competent jurisdiction remains outstanding with respect to the
         existence of such default(s), to terminate this Lease at the end of the expiration of thirty (30) days
         from the date of giving such Sears Notice (or if Landlord is then pursuing the cure of the default,
         then such longer period as may be reasonably required to cure such default, provided that Landlord
         is diligently prosecuting such cure to completion), and in such event, this Lease and theTeim shall,
         except as set forth in the following sentence, terminate upon the expiration of such thirty (30) days
         with the same effect as if the last of such thirty (30) days was the date originally set forth herein
         for the expiration of the Term. If this Lease is terminated as provided herein. Sears, at Sears'
         election, shall have a period of up to one hundred twenty (120) Business Days (as elected by
         Sears), for the purpose of winding down its btisiness operations and removing any or all of Sears'
         Property at its election from the Premises, but Sears shall continue to be obligated to pay Rent
         during any period of Sears' occupancy of the Premises. The provisions of this Section lOfb) shall
         survive the expiration or sooner tennination of this Lease.

    '        ""      ——          (II)   No member7partner (general or limiteo), manager, officer, difeaor,
         shareholder or principal of Landlord shall have any personal liability whatsoever for the payment
         or collection of any judgment requiring tiie payment of money by Landlord in the event of a default
         by Landlord with respect to the terms, covenants and conditions of this Lease to be observed and/or
         performed by Landlord. In no event shall Landlord be liable for any consequential, special,
         punitive or other similar dan^ges. Landlord's liability hereunder shall be limited to Landlord's
         interests in die Property.

                      11-          Assignment/Subleasing.

                        (a)     Sears shall have the right to sublet (and grant licenses and concessions,
        department arrangements and other rights) all or any portion of its leasehold interest during the
        Term without Landlord's ^proval; provided, however, that Sears shall not have the right to sublet
        all or any portion of its leasehold interest without Landlord's approval, such approval not to be
        unreasonably withheld, conditioned or delayed, if the term of such sublease is ^^ater than two (2)
        years, unless Sears has an earlier termination right pursuant to such sublease (in which case
        Landlord shall not have such an approval right). Notwithstanding the foregoing, Sears shall have
        the right to sublet all or any portion of its leasehold interest to Seller during the Tenn without
        Landlord's approval. In addition. Sears shall have the right to assign its entire interest in this
        Lease, subject to Landlord's approval, such approval not to be unreasonably withheld, conditioned
        or delayed. In the event of any sublet or assignment, Sears (or any successor) shall remain liable
        to Landlord for the performance of all obligations under this Lease, except as otherwise set forth
        in Section 1 Kb) below.

                        (b)    Notwithstanding the foregoing, Sears shall have the right, without
        Landlord's approval, to (i) assign this Lease to any Subsidiary of Scars; (ii) assign or transfer all
        of Sears' rights and obligations under this Lease (either directiy or indirectiy, by operation of law
        or through a merger or other corporate transaction) to any other Person that (1) acquires all or
        substantially all of the assets of Sears, (2) is the surviving entity of a merger witii Sears, or
        (3) results from a consolidation, reorganization or recapitalization of Sears with a solvent
        corporation, partnership or other legal entity; or (iii) assign or transfer all of Sears' rights and
        obligations under this Lease to any Person (if not the named tenant herein, the "Unrelated

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       Successor Tenant") that has concurrently acquired another similarly situated property from Sears
      and a net worth of not less than $25,000,000.00 as of the effective date of such assignment or
      transfer and the assignee assumes in writing the obligations of Sears under this Lease which arise
      on and after the date upon which the assignment becomes effective. In the sole case of an
      assignment or transfer in connection with clause (iii) above. Sears shall be released from all
      liabilify under this Lease. As used in this Lease, (x) "Subsidiary" means, as to any Person, (i) any
      corporation more than fifty percent (50%) of whose stock of any class or classes having by the
      terms thereof ordinary voting power to elect a majority of the directors of such corporation
      (irrespective of whether or not at the time stock of any class or classes of such corporation shall
      have or might have voting power by reason of the happening of any contingency) is at the time of
      determination owned by such Person and/or one or more Subsidiaries of such Person, and (ii) any
     partnership, limited liability company, association, joint venture or other entity in which such
     person and/or one or more Subsidiaries of such person has more than a fifty percent (50%) equity
     interest at the time of determination and (y) "Person" or "person" means any natural person,
     partnership, limited partnership, limited liability company, coiporation, trust, estate, association,
     unincorjioratcd association or other entity. With respect to any assignment or transfer that requires
     Landlord's consent pursuant to Section t Ua) above or any assignment or transfer pursuant to this
     Section 11(b). Sears shall provide (i) written notice to Landlord no less than ten (10) Business
     Days prior to such assignment or transfer becoming effective, which notice shall identify the
     transferee and include reasonable documentation evidencing such tr^isferee's satisfaction of the
     net worth requirement noted above, if applicable, and (ii) promptly following the date on which
     such assignment or transfer becomes effective, copies of the documentation evidencing the
     assignment of the Lease and the transferee's assumption of Sears' obligations under this Le-^e.

                    (c)     In the event of a sale or conveyance by Landlord of the Property (or any
    portion thereof), the same shall be made subject to this Lease and Landlord shall only be released
    from any liability under this Lease accruing after the date of any such conveyance, provided the
    assignee shall assume and agree to keep and perform all of the terms of this Lease on the part of
    Landlord to perform from and after the date of any such conveyance and a copy of the assignment
    and assumption agreement executed by Landlord and assigaee shall be delivered to Sears, upon
    request.

            12.    Governing Law. This Lease shall be governed by and construed in accordance
    with the laws of the state in which the Property is located applicable to agreements made, and to
    be wholly performed, in such state.

          13.  Waiver of Trial by Jury. LANDLORD AND SEARS EACH HEREBY WAIVE
    TRL\L BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY
    EITHER OF THEM AGAINST THE OTHER ON ANY MATTERS WHATSOEVER ARISING
    OUT OF, OR IN ANY WAY CONNECTED WfTH, THIS LEASE OR THE LANDLORD-
    TENANT RELATIONSHIP, WHETHER ARISING IN CONTRACT, IN TORT OR
    OTHERWISE.

            14.     Binding Effect. Subject to Seclion 11 above, this Lease shall bind and inure to the
    benefit of the parties hereto and their respective permitted successors and assigns.



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               15.    Comnlcte Agrecmenl: No Oral ^^odification. This Lease may not be altered or
      terminated, nor may its provisions be waived, except in a writing signed by Sears and Landlord.
      This Lease, together with the PSA and the documents referred to in the PSA or executed in
      connection with the Closing thereunder, represents the entire agreement and understanding of the
      parties with respect to the subject matter hereof, and completely supersedes and integrates any and
      all other promises, understandings and agreements between the parties (including all of the same
      by and between any of the parties' agents and representatives on behalf of the parties), both oral
      and written.

              16.     Countcrpart.s. This Lease may be executed in two or more counterparts and by
      facsimile or electronic signatures which taken together shall constitute collectively one agreement.
      In making proof of this Lease it shall not be necessary to produce or accotmt for more than one
      such counterpart with each party's original, facsimile or electronic signature.

                17-     In validity'. If any term or provision of this Lease shall to any extent or for any
    'liason be held invalid, illegal or linenforceable, such invalidity, iUegalify or imenforceability shall
      not affect any other provision of this Lease, but this Lease shall be valid and enforceable to the
      fijllest extent permitted by law, subject to such modification hereof as may be necessitated by such
      invalidity, illegality or unenforceability provided that the purpose and intent hereof is not in any
      way abrogated.

                   18.           Notices.

                     (a)      Notices shall be either (i) personally delivered, (ii) sent by a nationally
    recognized overnight courier delivery service, or (iii) mailed by United States registered or
    certified mail, return receipt requested, postage prepaid, deposits in a United States post office or
    a depository for the receipt of mail regularly maintained by the post office, ff personally delivered,
    then such notices shall be effective when received as evidenced by affidavit of the Person making
    such delivery; if sent by overnight courier delivery service then such notices shall be deemed to
    have been received by the addressee on the next Business Day following the date so sent; if mailed,
    then such notices or other communication shall be deemed to have been received by the addressee
    on the fifth (5th) Business Day following the date deposited with the United States mail. The
    inability to make delivery because of obliged address of which no notice was given or by reason
    of rejection or refiisal to accept delivery of any notice shall be deemed to be receipt of the notice
    as of the date of such inability to deliver or rejection or refusal to accept. All notices, demands or
    requests made pursuant to, under or by virtue of this Lease must be in writing and addressed as
    follows:

                                       If to Sears;

                                       Sears Holdings Corporation
                                       3333 Beveriy Road, Dept. 824RE
                                       Hoffman Estates, IL 60179
                                       Attention: President - Real Estate
                                       Telephone: (847) 286-5303

                                       With copies to:

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                                       Weil, Gotshai & Manges LLP
                                       767 Fifth Avenue
                                       New York, New York 10153
                                       Attention: W. Michael Bond, Esq.
                                       Telephone; (212)310-8035
                                       Email; Michael.Bond@WeiLcom

                                       and

                                       Sears Holdings Corporation
                                       3333 Beverly Road, Dept. 824RE
                                       Hoffman Estates, IL 60119
                                       Attention: Associate General Counsel - Real Estate
                                       Telephone: (847)286-1719

                                       If to Landlord:

                                       LBA Realty LLC
                                       3347 Michelson Drive, Suite 200
                                       Irvine, California 92612
                                       Attention: Melanie Colbert
                                       Telephone: (949)955-9345
                                       Email: mcolbert@lbarealty.com

                                       With copies to:

                                       Allen Matkins Leek Gamble Mallory & Natsis LLP
                                       1901 Avenue of the Stars, Suite 1800
                                       Los Angeles, CA 90067
                                       Attention: Anton N. Natsis
                                       Telephone: 310.788.2430
                                       Email tnatsis@allemnatkins.com

                    (b)     All notices (i) shall be deemed to have been given on the date that the same
    shall have been delivered in accordance with the provisions of this Section and (ii) may be given
    either by a party or by such party's attorneys. Any party may, from time to time, specify as its
    address for purposes of this Lease any other address upon the giving of five (5) days' prior notice
    thereof to the other parties.

           19.     Subject to Existing Agreements. This Lease is subject to all Ancillary Rights and
    Agreements in effect on the Effective Date with respect to the Property to the extent affecting the
    Premises or this Lease.

            20.     Liens. Sears shall not pennit any mechanic's, laborer's or materialman's lien or
    other Hens or encumbrances to be filed at any time against the Property or any part thereof by
    reason of work performed, materials fiiraished or obligations incurred with prior authorization by
    or on behalf of Sears or any agent or contractor claiming by, through or under Sears, which are not
    bonded or discharged within the later of thirty (30) days (a) of filing or (b) Sears' actual notice

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       thereof. In the event that, following ten (10) Business Days' notice from Landlord to Sears
       indicating that the above thirty (30) day period has expired and Sears has failed to bond or
       discharge to relevant unpemiitted lien or encumbrance, Landlord may, at the expense of Sears,
       bond or discharge such lien or encumbrance; provided, that if Sears notifies Landlord that Sears is
       actively disputing such lien or encumbrance. Landlord may only bond (and not discharge) such
       lien or encumbrance for so long as Sears continues to actively dispute the same.

               21.     Estoppels. At any time and from time to time, upon not less than ten (10) Business
      Days' prior request, either party (the "Requesting Parb") may request that the other party (the
      "Cc)itif>in.g Party'*) fiimish to the Requesting Party (and its lenders or purchasers) a certificate
      (signed by aperson duly authorized to sign on behalf of the Certifying Party) certifying as follows:
      (a) that this Lease is unmodified and in frill force and effect (or that this Lease is in fiill force and
      effect and modified and settuig forth the modifications), (b) the dates to which the Monthly Fixed
      Rent and any Additional Rent have been paid and the amount thereof then payable, (c) that the
      Certifying Party does not know of any default in the performance of any provisions of this Lease
      or specifying any default of which the Certifying Party may have knowledge and stating what
      action the defaulting party is taking or proposes to take with respect thereto and (d) any other
      information reasonably requested by the Requesting Party.

              22.     if Sears is publicly traded, the terms of this Section 22 shall not apply. Otherwise,
      within thirty (30) days of Landlord's request. Sears will fiimish its internally prepared financial
      statements. Landlord will not disclose any aspect of Sears' financial statements that Sears
      designates to Landlord as confidential except to Landlord's mortgagee or prospective mortgagees
      or purchasers of the Property or if required by law or court order. Sears shall not be required to
      deliver the financial statements required under this Section 22 more than once in any twelve (12)
      month period and only in connection with a sale or refinancing of the Property.

                  23.           Indemnification; Waiver of Subrogatioii.

                     (a)    Each party shall indemnify, defend and hold the other harmless Irom and
     against all claims, actions, damages, Uability and expense, including reasonable attorneys' fees
     ("Loss"), in connection with bodily injury, the loss of life, personal injury and/or damage to
     property to the extent arising ftom or out of any occurrence in or upon the Property to the extent
     caused by any act or omission of the indemnifying party and its agents, contractors, employees,
     servants or licensees, exc^t to the extent that such Loss is caused by the wrongfiil or negligent
     acts or omissions of the other party, its agents, contractors, employees, servants or licensees (as to
     ail of which Loss the party charged with such acts or omissions shall indemnify, defaid and hold
     harmless the other party).

                     (b)      Each party releases and waives any and every claim and right of recovery
     against the other which arises or may arise in its favor and against the other party during the Terra
     for any and all loss of or damage to any of its property located within or upon or constituting a part
     of its respective premises, which loss or damage is customarily covered by the property insurance
     carried by each party under this Lease, or would have been covered if each party had carried the
     insurance that such party is required to carry under this Lease. This mutual waiver shall be in
     addition to, and not in limitation or derogation of, any other waiver or release contained in this
     Lease with respect to any loss of or damage to property of the parties. Landlord and Sears agree

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      to furnish to each insurance company which has or will issue property damage policies on its
      premises, notice of the terms of the mutual waivers and to have the insurance policies properly
      endorsed, if necessary, to acknowledge the subrogation waivers.

                               (c)   The provisions of this Section shall survive the Termination Date.

              24.     Hold Over. No holding over by Sears nor acceptance of Monthly Fixed Rent,
     Additional Rent or other charges by Landlord shall operate as a renewal or extension of this Lease
     witiiout the written consent of Landlord. Should Sears hold over after the Termination Date
     without the consent of Landlord, this Lease shall continue in force from month to month, subject
     to all of the provisions hereof; provided that, after the first thirty (30) days of holdover Sears'
     Monthly Fixed Rent shall be equal to one himdred twenty-five percent (125%) of the Monthly
     Fixed Rent otherwise due as of the date of the expiration or earlier termination of this Lease, and
     after the next thirty (30) days of holdover. Sears' Monthly Fixed Rent shall be equal to one hundred
     fifty percent (150%) of the Monthly Fixed Rent otherwise due as of the date of the expiration or
     cailiei tetinination of Uiis Lease. If Sears holds over without Landlord's express Written consent,
     and tenders payment of rent for any period beyond the Termination Date by way of check (whether
     directiy to Landlord, its agents, or to a lock box) or wire transfer, Sears acknowledges and agrees
     that the cashing of such check or acceptance of such wire shall be considered inadvertent and not
     be construed as creating a month-to-month tenancy, provided Landlord refunds such payment to
     Sears promptly upon learning that such check has been cashed or wire transfer received. Nothing
     contained in this Section 24 shall be construed as consent by Landlord to any holding over by
     Sears, and Landlord expressly reserves the right to require Sears to surrender possession of the
     Premises to Landlord as provided in this Lease upon the expiration or other termination of this
     Lease.

            25.    Scars Financing. Sears may continue to finance all receivables, inventory and
    other personal property and enter into financing leases of property and equipment, in the ordinary
    course of business.

                 26.         Subordination; 0 \ m t Ettiovment.

                   (a)      Subject to and expressly conditioned upon the provisions of Section 26(b),
    including receipt of a commercially reasonable (as reasonably determined by Sears) subordination,
    nondisturbance and attornment agreement (an "SN0A") from each Landlord's mortgagee and each
    ground lessor, this Lease and all rights of Sears hereunder hereby are made and shall be subject
    and subordinate in all respects to the lien of all present and tuture ground leases (collectively,
    '^Grotind I..cases") and mortgages (collectively, "Landlord's Mortgages") which may now or
    hereafter encumber Landlord's interest in the Property; provided that no such Ground Leases or
    Landlord's Mortgages shall increase any liabilities or obligations nor decrease any rights or
    remedies of Sears under or with respect to this Lease. S^rs shall respond to any request for signing
    an SNDA within thirty (30) days after request therefor.

                   (b)    Notwithstanding the foregoing or any such subordination, or any other
    provision contained in this Lease to the contrary, so long as Sears shall not be in default of the
    express provisions of this Lease beyond any applicable grace, notice or cure period. Landlord
    covenants and agrees that Sears shall peacefully and quietly possess and enjoy the Premises and


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      all rights of Sears xmder this Lease in accordance with all terms and conditions hereof (without
      reference to Seclion 26(a) hereof), without let, hindrance or disturbance and free from all rights
      and claims of Landlord and all of all Persons claiming by or through Landlord, including under
      any such Ground Leases and Landlord's Mortgages.

              27.     Attorneys* Fees. In the event of litigation between the parties to enforce this Lease
      or if any legal action is instituted as a result of a default by either party imder this Lease that is not
      cured within tiie applicable cure period, the prevailing party in such action .shall be entitled to
      recover from, or be reimbursed by the other party for, its reasonable and actual attorneys' fees and
      costs through all levels of proceedings.

              28.     Lease Not to Be Recorded; Leaseback Memorandum. The parties agree that
      this Lease shall not be recorded, but the parties shall record a leaseback memorandum concurrently
      with the execution hereof

              29.     Pi&crciiOH. Except as otherwise expressly provided herein, any agreement,
      approval, consent or other detemiination shall not be effective unless it is in writing and shall be
      in the sole and absolute discretion of such party.

             30.    Section Headings. The headings of the various sections of this Lease have been
     inserted only for purposes of convenience, are not part of this Lease and shall not be deemed in
     any manner to modify, explain, expand or restrict any of the provisions of this Lease.

                    31.           Generai Definitional Provisions.

                    (a)    Unless the context of this Lease otherwise requires, (i) words of any gender
    are deemed to include each other gender, (ii) words using the singular or plural nujnber also
    include the plural or singular number respectively, (iii) the terms "hereof," "herein," "hereby,"
    "hereto," and derivative or similar words refer to this entire Lease, (iv) the terms "Article,"
    "Section," "Subsection," "Paragraph" or "clause" refer to the specified Article, Section,
    Subsection, Paragraph or clause of this Lease, and (v) ail references to "dollars" or "$" refer to
    currency of the United States of America. The term "including" as used herein shall in all instances
    mean "including, but not limited to."


                  (b)     Initially capitalized terms used in this Lease are defined on the respective
    pages indicated in the following list and if not defined in this Lease shall have the respective
    meanings ascribed to them in the PSA.

    Additional Rent                                            4          Default Termination Notice        13
    Ancillary Rights and Agreements                         ...7          Deferred Maintenance Amoimt        9
    Ammal Fixed Renl                                           4          Deferred Maintenance Period        9
    Bankruptcy Termination Notice                            13           Deferred Maintenance Work          9
    Business Day                                               3          Eastdil                            2
    Casualty...                                              II           Effective Date                     2
    Certifying Party                                    ..^.A9            GOB Signage                        6
    Closing...,                                                2          Ground Leases                     21
    Condemnation Action                                      12           Landlord                           2
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     Landlord Notice       ,                           13          Rent                     ,              5
     Landlord Retained leases                           2          Representatives                         2
     Landlord Tennination Notice                        3          Requesting Party                    .,19
     Landlord's Mortgages                             21           Required CapEx               ...,     10
     Late Fee                                         14           Required CapEx Max                    10
     Lease                   ,                          2          Sears                                   2
     Lease Year                                      ...3          Sears Notice...                       15
     Loss                                             20           Sears'Property                          3
     Maintenance Standard                               9          Seller                                 .2
     Montiily Fixed Rent         .'                     4          SNDA                                 21
     Necessary Curtailments                             6          Subsidiary                            16
     person                                    ,      16           Taxes                                   4
     Premises                                           2          Term                                    3
     Prepaid Rent        ,                              2          Termination Date,.                      3
   -Property                                            2          Unrelated Successor Tenant            16
     PSA                                                2

             32.     Joint PrafHnE. Each of Sears and Landlord has been represented by counsel in
     the negotiation and execution of this Lease, and each of Sears and Landlord had input in the
     drafting of this Lease, For all purposes, this Lease shall be considered to have been jointly drafted
     by Sears and Landlord.

           33.     Other Documents. Each of the parties agrees to sign such other and further
     documents as may be necessary or appropriate to carry out the intentions expressed in this Lease.

                  34.          Brokers.

                    (a)     Sears represents and warrants to Landlord that Sears has not dealt with any
    broker, salesman, finder or consultant with respect to this Lease or the transactions contemplated
    hereby other than Eastdil Secured ("Eastdll"). Sears shall pay Eastdil in accordance with Section
    10.3(a) of the PSA. Sears agrees to indemnify, protect, defend and hold Landlord harmless from
    and against all claims resulting fixim Sears' breach of the foregoing representation.

                    (b)    Landlord represents and warrants to Sears that neither Landlord nor any
    Affiliate of Landlord has dealt with any broker, salesman, finder or consultant vwth respect to this
    Lease or the transactions contemplated hereby. Landlord agrees to indemnify, protect, defend and
    hold Sears harmless fitim and against all claims resulting from T.andlord's breach of the foregoing
    representation.

            34.    Confidcnlialitv. Sears and Landlord agree to keep and hold this Lease and the
    terms and conditions contained herein strictly confidential and neither Sears nor Landlord will
    disclose or permit any other Person to disclose the terms and conditions of this Lease to any other
    Person without the prior written authorization of the other party. Notwithstanding the foregoing.
    Sears and Landlord may disclose this Lease and/or the terms and conditions hereof to Sears' and
    Landlord's respective agents, consultants, affiliates, directors, accountants, advisors, partners,
    employees and legal coimsel ("Representatives") provided that such Representatives have a



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     legitimate need to know and agree to keep the terms and conditions strictly confidential in
     accordance with this Section 35.
              35.    Additional State-Specific Provisions. The provisions and/or remedies which are
     set forth on the attached Exhibit D shall be deemed a part of and included within the terms and
     conditions of this I^ase.
             36.     Prepaid Rent On the Effective Date, Sears shall provide Landlord with an amount
     equal to $3,720,035.10 (i.e., twelve (12) months of Monthly Fixed Rent otherwise due during
     months seven (7) through eighteen (18) of the Term) (the "Prenaid Rent"), as prepaid rent due
     under this Lease for months seven (7) through eighteen (18) of the Term. Provided Sears is not
     then in default under this Lease beyond any applicable notice or cure period. Landlord shall apply
     the Prepaid Rent to Sears' obligation to pay Monthly Fixed Rent as and when due until the entire
     amount of the Prepaid Rent has been exhausted; provided, however, if this Lease is terminated due
     to a Landlord default, casualty, condenmation, or the early termination rights described in
     Section 3 above, then Landlord shall promptiy return the unapplied portion of the Prepaid Rent to
     Sears.


                               [Signatures appear on the foUowing pages]
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                     m WITNESS WHEREOF, Landlord and Sears have executed and delivered this
      Lease lo each other as of the Effective Date.

                                                   SEARS:

                                                   SEARS HOLDINGS CORPORATION,
                                                   a Delaware coijioraiion


                                                   By:       . .          .--,---
                                                   Name: Q J s ^ \ \ p / ^ M - c b n




        [SIGNATURE PAGE TO LEASE (lOSS HANOVER STREET, WILKES BARKE, PA)]
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                                         LANDLORD:

                                         1055 HANOVER, LLC,
                                         a Delaware limited liability conqiany

                                         By:    1055 Hanover Holding, LLC,
                                                a Delaware limited liability company,
                                                its sole Member and Manager

                                                By:    LBA Fund Vl-MM Industiial, LLC,
                                                       a Delaware limited liability con^jany,
                                                       its sole Member and Mjmagcr



                                                           Name:
                                                           Title:




         [SIGNATURE PAGE TO LEASE (1055 HANOVER STREET, WILKES BARRE, PA)]
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                                                 EXHIBIT A

                                              Lc^al Descrtittion



     All that certain piece or parcel of land situate partly in the Township of Hanover, partly in the
     Borough of Sugar Notch, and partly in the Borough of Warrior Run, County of Luzerne,
     Commonwealth of Pennsylvania, bounded and described as follows:

      Beginning at a point in (he Northeasterly right of way line of a 40.00 foot wide road known as
      Front Street in the Township of Hanover, said point being the Southerly most comer of lands now
      or formerly of Edward and Catherine Halicki; thence along lands of Halicki, Linkiewicz, Ozmina,
      Duffy, Pascoc, and Wachs North 64" 56' 25" East 541.67 feet to a point; thence along lands of
      Wachs, Caxr, Stuart and Trudnak along a curve to the left having a radius of 421.73 feet, an arc
      lengtii of 56L07 feet, a chord of North 15^ 56' 57" East 520.60 feet to a point; thence along lands
      of Trudnak North 22'' 09' 49" West 317.00 feet to a point; thence continuing along same South 66°
      47' 23" West 194.34 feet to a point in the Northeasterly right of way line of a 50.00 foot wide road
      known as South Sti-eet; tiience along Soutii Street North 25° 06' 54" West U 1.97 feet to a point;
      thence continuing along same North \4° 12'06" East 373.92 feet to apointinlineoflandsnowor
      formerly of John and Isadore Berk; thence along Berk South 71'' 26' 32" East 199.29 feet to a
     point; thence continuing along same North 70° 21' 44" East 431.32 feet to a point in line of lands
     now or formerly of UGl Coiporation; thence along said UGI Corporation lands South )6° 08'32"
     East 152.74 feet to a point; thence tiirough same North 71° 37' 32" East 50.03 feet to a point;
     thence continuing along same North 16° 08' 32" West 239.16 feet to a point in line of lands now
     or formeriy of Hemy A. Tmdnak; thence along Trudnak North 58° IV 10" East 444.81 feet to a
     point; thence along same and along lands of Grandview Acres Subdivision North 67° 35' 10" East
     446.00 feet to a point; thence along Grandview Acres Subdivision North 72° 00' 10" East 332.00
     feet to a point; thence Soutii 36° 29' 50" East 1720.41 feet to a point in the Westeriy right of way
     line of a 100.00 foot wide road known as Hanover Street; thence along Hanover Street the
     following eight courses and distances: South 04° 01' 37" West 272.67 feet to a point; thence along
    a curve to the right having a radius of 600.00 feet, an arc length of 624.74 feet, a chord of South
     33° 51' 22" West 596.90 feet to a point; thence South 63° 41' 07" West 1104.04 feet to a point;
    thence along a curve to the right having a radius of 4950.00 feet, an arc length of 485.44 feet, a
    chord of South 66° 29' 41" West 485.24 feet to a point; tiience South 69° 18' 15" West 362.39 feet
    to a point; thence along a curve to the right having a radius of 5347.23 feet, an arc length of 221.06
    feet, a chord of South 74° 30' 14" West 221.04 feet to a point; thence South 75° 41' 18" West
     121.17 feet to a point; tiience South 80° 44' 43" West 55.69 feet to a point in the Northeasteriy
    right of way line of a 30 foot wide unnamed alley; thence along said alley North 26° 06' 39" West
    650.37 feet to a point in line of lands now or formerly of Warrior Run-Askam Community Service
    Association; thence along Warrior Run Askam Community Service Association North 63° 41' 00"
    East 369.95 feet to a point; thence continuing along same Nortii 26° 19' 00" West 330.00 feet to a
    point; thence continuing along same South 52° 22' 00" West 387.53 feet to a point in line of lands
    now or formerly of Dominic and Geraldine Wegrzynowicz; thence along Wegrzynowicz North
    26° 19' 00" West 188.37 feet to a point; thence continuing along same South 64° 56' 25" West
    120,03 feet to a point in the Northeasterly right of way line of aforementioned Front Street; thence
    along Front Street North 25° 03' 35" West 40.00 feet to tiie point of beginning.


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      Being designated as the following Tax Parcel Nos.

      Portion in Warrior Run Borough
      Plate No. 62-C-3-1-R1-DI-1
      PIN No. 62-J8S5-001-001-000

      Portion in Hanover Township
      Plate No. 25-C-2-D11-1-D20-D1-R6
      PIN No. 25-J8S5-001-001-000

     Portion in Sugar Notch Borough
     Plate No. 60-C-2-D1-R1-D65-D1
     PIN No. 60-J8S5-001-001-000

     Being the same property tiiat was conveyed by The Greater Wilkes-Barre Industrial Fund, Inc. to
     Terminal Freight Handling Company by deed dated July 24, 1992 and recorded m Deed Book
     2427, page 9.



     Property Identiincation Number(s): 62-J8S5-001-001-000,25-J8S5-001-001-000, and 60-
     J8S5-001-001-000




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                                                            EXHIBIT B
        The "Premises" means the entirety of the Property together with all improvements located thereon.




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                                                       EXHIBIT D
                                                 State Specific Provisions
      None.




     7.H«,o.,WLA                                       EXHIBIT n
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                                                     SCHEDULE 1
                                                Landlcjrd Retained Leases

        None.




     «m5o.,>v.A                                      SCHEDULE 1
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                                          SCHEDULE 2
                                         Annual Fixed Rent


               Lease Year                Annual Fixed Rent   Monthly Fixed Rent
               1 ^ \ ^ ^ ^ ' j . ^ •'"       $3,665,059.20          $305,421.60
               2r^\sY-'^\\i^r.o              $3,775,010.98          3314,584.25
                                             $3,888,261.31          $324,021.78
               4                             $4,004,909.14          $333,742.43
               5                             $4,125,056.42          $343,754.70
               6                             $4,248,808.11          $354,067.34
               7                             $4,376,272.35          $364,689.36
               8                             $4,507,560.53          $375,630.04
               9                             $4,642,787.34          $386,898.95
               10                            $4,782,070.96          $398,505.91




                                           SCHEDULE 2
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                                                   SCHEDULE 3
                                           DEFERRED MAINTENANCE WORK
             •      HVAC - replace older DX split systems serving the office areas with comparable units as
                    detemiined by Landlord - 10 tons

             •     Fire Life Safety - test all ESFR sprinkler heads in accordance vnth NFPA 25 requirements,
                   which consists of a total of 105 heads.

            •      Other - construct new foundations for 6 light poles in a location reasonably determined by
                   Landlord, and relocate the 6 existing light poles that are out of plumb on the east side of
                   tiie Property, to the new foundations.




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                                            EXHIBIT 2

                                          IMESON LEASE




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                                                         LEASE
                                                  BY AND BETWEEN
                                        SEARS HOLDINGS CORPORATION, as tenant
                                                          AND
                                        1IMESON PARK BL VD, LLC, as landlord
                                                Dated as of April 5 ^ 2018
                                                        Property;
                                         I Imeson Park Boulevard, Jacksonville, FL




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                                                   LEASE
            THIS LEASE (this "Lease"") is made as of the _ day of April, 2018 ("Effective Date").
     between. 1 IMESON PARK BLVD, LLC, a Delaware limited liability company, having an office
     at 3347 Michelson Drive, Suite 200 Irvine, California 92612, ("Laadtord") and SEARS
     HOLDINGS CORPORATION, a Delaware corporation, having an office at 3333 Beverly Road,
     Dept. 824RE, Hoffman Estates, Hlinois 60179 ("Sears").

                                           WITNESSETH:
                    WHEREAS, pursuant to that certain Purchase and Sale Agreement dated as of
     February 8,2018, between Innovel Solutions, Inc. ("Seller"), as seller, and Landlord, (as assignee
     from LBA Realty LLC, a Delaware limited liability company) as buyer (as amended and assigned,
     the "PSA"). Seller agreed to sell to Landlord, and Landlord agreed to purchase from Seller the
     land more particularly described on Exhibit A attached hereto and the other property described in
     the PSA (collectively, the "Propertyn:

                    WHEREAS, as a condition to the closing pursuant to the PSA (the *'Cl2s|ng'*),
     immediately following the sale of the Property by Seller to Landlord, Landlord is required to lease
     to Sears, and Sears is required to lease from Landlord, the Premises (as defined below) pursuant
     to the tenns and conditions of this Lease; and
                   WHEREAS, the Closing under the PSA occurred on the Effective Date and Sears
     and Landlord >vish to enter into this Lease to complete the transaction.
                       NOW, THEREFORE, Sears and Landlord agree as follows:
              !•      Demise. Landlord hereby leases to Sears, and Sears hereby leases from Landlord,
     the Premises for the Term. The "Premises" shall be defined as the premises desCTibed on
     Exhibit B attached hereto. Sears shall also have therightto use, in common with all other tenants
     and occupants of the Property on a non-exclusive basis, all parking, access and common areas
     useftil in connection with the Property in a manner substantially similar to the manner in which
     same have been used prior to the date hereof, to the extent Landlord possesses or has therightto
     such rights. The Premises shall not include, and Landlord shall retain the sole and exclusive rights
     in, the leases listed on the attached Schedule t (collectively, the "Landlord Retained Leases").
     Landlord shall not amend or modify the Landlord Retained Leases without the prior written
     consent of Sears (which consent shall not be unreasonably withheld, and shall be granted or
     withheld within thirty (30) days of request), except only to the extent that neither Sears' operations
     nor Sears'rightshereunder are materially adversely affected by such amendment or modification.
     Without limiting the foregoing, no modification or amendment shall be made to any,Landlord
     Retained Lease to increase the space used imder such Landlord Retained Lease or which would
     result in any material increased cost to Sears without the prior written consent of Sears.




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                   2            Term.
                     (a)     The term of this Lease (the "Term") shall commence on the Effective Date
      and shall expire at midnight on the last day of the tenth (10th) Lease Year, unless sooner terminated
      as provided in this Lease.

                     (b)     If the date otherwise scheduled for teranination or expiration of this Lease
     is not a Business Day, the Termination Date shall be on the first Business Day thereafter. A
     "Business Day" means any day other than a Saturday, Sunday or other day on which banks are
     authorized or required by law to be closed in the jurisdiction in which the Premises is located. A
     "Lease Year" means each successive twelve (12) calendar month period commencing on the first
     day of a calendar month. ThefirstLease Year shall be the twelve (12) month period commencing
     on the first day of the calendar month immediately succeeding the month in which the Temi of
     this Lease commences plus any partial calendar month during the calendar month in which the
     Term of this Lease commences.                                                      „\,\1.^
                   3.           Early Termination; Surrender of Possession.
                     (a)     Early Tcrminatioa Bv Landlord. In addition to any early termination of
     this Lease that may arise under any other section of this Lease, Landlord may elect to terminate
     this Lease prior to the expiration of the Term, but only if such tennination is effective after the last
     day of the sixtieth (60th)fiillcalendar month of the Term; provided, that as a condition precedent
     to such termination. Landlord shall provide not less than nine (9) months' prior written notice of
     terminafion ("Landitwd Termination Notice") to Sears. The Landlord Termination Notice shall
     indicate the date of the termination of this Lease, which must be a Business Day that does not
     occur between November 15 of a calendar year and January 15 of the next following calendar year
     and which must be after the last day of the sixtieth (60th)fiiUcalendar month of the Term.

                     (b)    Surrender of Possession. Upon the first to occur of (i) the expirafion of
     the Term, (ii) any sooner termination of this Lease pursuant to any other section of this Lease, or
     (iii) any earlier date as noted in a validly delivered Landlord Termination Notice or Sears
     Termination Notice, as applicable (the first of such dates being the ^Termination Date^'), Sears
     shall suirender possession of the Premises in its "AS-IS," "WHERE-IS" and "WITH ALL
     FAULTS" condition,freeof all subtenants, licensees, leases, subleases, concessionaires and other
     occupants claiming by, through or under Sears, and without any obligation by Sears, except as
     provided in the following sentence, to remove anyfixtures,fiimishingsor equipment or other
     personal property. On or prior to the Termination Date, Sears shall remove any or all of Sears*
     furnishings, movable equipment, merchandise, inventory and other personal property and may (but
     shall not be required to) remove fixtures (including, without limitation, permanently affixed
     fixtures, such as racking and conveyor systems installed prior to the Effective Date) (all of the
     foregoing items noted in this sentence, collectively, "Scars' Pioftertv") and any alterations or
     improvements required to be removed by Sears pursuant to SectiQiv5(a) below, including repairing
     any damage caused by such removal, ordinary wear and tear excepted. If Sears fails to remove
     any Sears' Property that is required to be removed, any of the same remaining after the Tennination
     Date may be removed by Landlord at Sears' expense or retained by Landlord for its account

                  4.           Rent.

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                    (a)    As consideration for this Lease, Sears shall pay to Landlord annual fixed
     rent ("Aniiual Fixed Rent") during each Lease Year in the aggregate amounts set forth on
     Schedule 2 attached hereto. The Annual Fixed Rent then in effect shall be payable in equal
     monthly installments ("^Moathtv Pixed Rent") in advance on or prior to thefifth(5th) day of each
     month. Monthly Fixed Rent shall be prorated on a per diem basis for any portion of a month.

                     (b)    As "Additional Rent" Sears shall also pay during the Term, in equal
     monthly installments, an amount equal to Landlord's insurance premiumsforcoverages applicable
     to the Property that Landlord purchases pursuant to this Lease (provided such insurance premiums,
     and the insiu-ance coverages (including deductibles) purchased therewith are commercially
     reasonable and consistent with the types and amounts of coverages that" would be purchased by
     prudent owners of properties similar in type to and in the general vicinity of the Property), Sears
     shall also pay any amounts due on a monthly basis for Required CapEx in accordance with Section
     S(c)(\) below.

                     (c)    Sears shall also pay directly to (he relevant authority as and when due, Taxes
     and, upon request by Landlord, shall provide Landlord with reasonable evidence that the same
     have been paid. For purposes hereof, "Taxes'* shall mean all taxes and impositions relating to the
     ownership, leasing and operation of the Property, or any portion thereof, including the land, but
     excluding any excess profits taxes,franchisetaxes, gift taxes, inheritance and succession taxes,
     estate taxes, documentaryfransfertaxes, federal or state income taxes, corporate, capital stock or
     capital gains taxes, penalties incurred as a result of Landlord's failure to pay taxes or to file any
     tax or informational returns and other taxes to the extent applicable to Landlord's general or net
     income (as opposed to rents, receipts or income attributable to operations at the Property).

                    (d)      Landlord shall give prompt notice to Sears of all Taxes and insurance
     premiums, payable by Sears hereunder of which Landlord at any time has knowledge and shall
     send copies of all bills and notices received by Landlord to Sears. Promptiy after receipt of such
     notice of the actual amount of Additional Rent, such amount will be adjusted between Landlord
     and Sears in cash. Provided that Sears is not then in default under this Lease (beyond applicable
     notice and cure periods), Sears reserves the right to audit the books and records of Landlord with
     respect to any component of Additional Rent within one (1) year of the expiration of the year to
     which such Additional Rent relates.
                   (e)     If the Termination Date occurs on any day other than the last day of a
     calendar month, Sears will be entitied to a refiind in an amount equal to Monthly Fixed Rent and
     Additional Rent theretofore paid under this Lease ailocabie on a per-diem basis to the remainder
     of the month.
                     (f)    The parties acknowledge and agree that Sears shall pay for all of the
     operating costs and expenses (such as, but not lunited to, utility costs and phone service) in
     connection with Sears' use and occupancy of the Premises during the Term, in accordance with its
     customary practices, subject to Section 8 and Section 4, and except (i) for costs, expenses and
     damages resulting from the negligence or willful misconduct by Landlord or its agents, employees
     or contractors, but subject to the terms of SetMign^Mfe) below, and (ii) as otherwise expressly set
     forth herein.



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                      (g)     Annual Fixed Rent, Monthly Fixed Rent and Additional Rent shall be
      collectively referred to herein as "Rent."

                     (h)    For the avoidance of doubt, but subject to Section 4. Sears shall be solely
     responsible for payment of all Taxes from the beginning of the current tax year up to and including
     the Effective Date. SubJKrt to Section 4. all Taxes applicable to the last year of the Term shall be
     prorated between the parties on a per diem basis based on the most recent and available tax bill
     and adjusted in cash once actual taxes are known. Landlord shall give prompt notice to Sears of
     all Taxes payable by Sears hereunder of which Landlord at any time has knowledge. Landlord
     shall use its reasonable efforts to obtain the cooperation of all taxing authorities to send all bills
     and notices in respect of the Property directly to Sears.

                     (i)       Sears may, at its own expense, contest or cause to be contested by
     appropriate legal proceedings conducted in good faith and with due diligence, any Taxes
     (including penalties and interest) upon or against the Property or any part thereof, including,
     without limitation, the amount or validity or application, in whole or in part, of any such item,
     provided that (i) neither the Property nor any interest therein would be in any danger of being sold,
     forfeitoi or lost by reason of such proceedings; (ii) no default under this Lease has occurred and
     is continuing; (iii) if and to the extent required by the applicable taxing authority and/or Landlord,
     Sears posts a bond or takes other steps acceptable to such taxing aulhority and/or Landlord that
     removes such lien or stays enforcement thereof; (iv) Sears shall promptly provide Landlord with
     copies of all notices received or delivered by Sears and filings made by Seam in connection with
     such proceeding; and (v) upon termination of such proceedings, it shall be the obligation of Sears
     to pay the amount of any such tax and assessment or part thereof as finally determined in such
     proceedings (or, if applicable. Sears will be entitled to any refund resulting therefore), the payment
     of which may have been deferred during the prosecution of such proceedings, together with any
     costs, fees (including attorneys' fees and disbursements), interest, penalties or other liabilities in
     connection therewith. Landlord shall, at the request of Sears, execute or join in the execution of
     any instruments or documents necessary in connection with such contest or proceedings, but
     Landlord shall incur no cost or obligation thereby.

                    (j)    Sears shall pay directly to the utility company(ies), the cost of all utilities
     provided to the Premises during the Term.

                    (k)     In light of the fact that Sears is continuing (i) in occupancy following the
     Closing, and (ii) to control the Service Contracts, except as set forth in the PSA, Sears and
     Landlord have not prorated common area maintenance reimbursements or payments under any
     Ancillary Rights and Agreements, expenses under Service Contracts, utilities and other customary
     real property prorations and adjustments as of the Closing.

                  5.            Alterations: "Going out of Business Sale"; Signage.

                    (a)     Except as otherwise provided herein, and subject to the rights of tenants
    under any Landlord Retained Leases, without first obtaining Landlord's prior written consent (such
    consent not to be unreasonably withheld, conditioned or delayed), Sears shall not make or cause
    to be made any alterations to the building structure or building systems or any other material
    alterations or install any additional permanent fixtures to the Premises. Notwithstanding the


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     preceding sentence. Sears (and any of its subtenants, licensees or other occupants) shall not be
     required to obtain any consent from Landlord for (1) any minor or non-structural alterations to the
     Premises, (2) placing temporary signs on the Property in connection with its store-closing
     operations or (3) any non-structural alterations to the Premises in connection with any Necessary
     Curtailments, or any other reduction in business operations or reduction in utilizing space within
     the Premises that do not affect the exterior of the improvements or the building systems, or disturb
     any hazardous materials. "Necessary Ciirtailmcnts" means alterations, ordinary repairs.
     Casualty, customary acts or events offeree majeure, and events beyond the reasonable control of
     Sears. Notwithstanding the foregoing. Sears, at its expense, may at any time and from time to time
     make alterations and/or additions to the Premises, subject to Landlord's prior written consent (to
     the extent required pxirsuant to this Scctitm 5) not to be unreasonably withheld, conditioned or
     delayed, provided that (A) the market value of the Premises shall not be reduced or its usefulness
     impaired, (B) the work shall be done expeditiously and in a good and workmanlike manner,
     (C) Sears shall comply with all legal requirements ^plicable to the work and (D) Sears shall
     promptly pay all costs and expenses and discharge any and all liens arising in connection with the
     work in accordance with the tenns hereof. Notwithstanding the foregoing. Sears, at its expense,
     may install or assemble or place on the Premises, and remove and substitute (and repair any
     damage caused by such removal and substitution), any items of machinery, equipment, fUmiture,
     furnishings, trade fixtures or other Sears' Property, including, but not limited to, all conveyer and
     material handling systems and related equipment, used or useful in Sears' busings; provided, tiiat
     Sears shall be obligated to remove the same on or prior to the end of the Term in accordance with
     Section 3(e) imless Landlord shall have consented, at the time of installation, to the same remaining
     in place following the end of the Term.

                     (b)     Notwithstanding any provision herein to the contrary, but subject to the
     provisions hereof. Sears shall have the right to conduct a "going out of business sale" to be
     completed during the one hundred twenty (120) day period prior to the expiration of the Term or
     earlier termination of this Lease as provided herein and to cease store operations and to ronove
     Sears' Property and prepare for the turnover of possession of the Premises to Landlord pursuant to
     the provisions of this Lease. With respect to a Sears "going out of business sale" and during the
     one hundred twenty (120) day period provided above, (i) Sears shall not place or allow the
     placement of any signage (including, but not limited to, banners, posters, placards and/or stand-
     alone signs, collectively "GOB Signage") on the exterior of the improvements (or on the interior
     of the improvements if such GOB Signage is visible from the exterior of the improvements) that
     contains the words/phrases "going out of business", "everything must go", "store closing",
     "Uquidation sale", "complete liquidation" or phrases of similar wording and/or intent; provided
     that Sears may place GOB Signage with the words "Sears Store Closing" or "Sears Store Closing
     Sale" on the exterior of the improvements (or on the interior of the improvements which is visible
     from the exterior of the improvements) so long as such GOB Signage is professionally prepared
     and installed, and of a reasonable size; (ii) Sears' GOB Signage may include discount pricing
     information; and (iii) Sears shall not place or allow the placement of any GOB Signage on the
     exterior surface of the improvements (except as provided above) or within the common areas of
     the Property.

                  (c)      Sears shall have the option to erect and maintain, subject to applicable legal
    requirements and matters of tide to whicli this Lease is subordinate and Ancillary Rights and
    Agreements, at its sole cost and expense, upon any portion of the Property or improvements, signs

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     of such height and other dimensions bearing such legend or inscription as Sears shall determine,
     and which are generally consistent in size and quantity with the signs in existence as of the
     Effective Date, and consistent with the nature and quality of the Property,

                 6.      Use; Opcratiori.

                     (a)      Sears shall not have any obligation to continuously operate or use or
     conduct business in or on any portion of the Premises. Sears may use the Premises, if Scare
     operates at all, solely for the operation of a warehouse and distribution facility, and for purposes
     in connection with or incidental to the cessation of Scare' operations on the Premises as such,
     including, without limitation, the sale of Sears' Property located at the Premises. Sears shall, at
     Sears' sole cost and expense, use and operate the Premises, if Sears operates at all, in compliance
     with law; provided, however, that Sears shall not be obligated to perform any capital expenditures
     or structural improvements necessary in order to comply with law, except to the extent that such
     capital expenditure or structural improvements are necessitated by (subject in all respects to Sears'
     rights and determinations as provided in Section g(c)fi) below) (a) any laws in effect and ^^plicable
     to the Premises prior to the Closing Date, (b) any use of the Premises by Sears that is not
     substantially consistent with Sears' use as a warehouse and distribution facitity, or (c) any
     alterations or improvements made by Sears to the Premises.

                      (b)      Without limiting the foregoing, Sears will continue to enjoy the benefit of
     all existing easements, parking agreements, rights of access and ingress, and all other rights and
     benefits as it currentiy enjoys (including under all applicable REAs and supplemental agreements,
     if any) with respect to the Property (all of the foregoing, collectively, "Aocmarv R i ^ ^ and
     Aarcemgnts"). and in furtherance thereof. Landlord agrees to enforce (and cause its Affiliates to
     enforce) all such Ancillary Rights and Agreements (excluding operating covenants) for the benefit
     of Sears. Sears agrees to continue to comply with the non-monetary provisions (if any) of the
     Ancillary Rights and Agreements that are applicable to the Premises (which, for the avoidance of
     doubt, does not include property that is subject to a Landlord Retained Lease) in accordance with
     its past practices in the ordinary course of business. Landlord shall not terminate, amend or modify
     the Ancillary Rights and Agreements without Sears' consent (which consent shall not be
     imreasonably withheld, and shall be granted or withheld witiiin titirty (30) days of request).

             7.     Access and Cooperation. Upon not less than one (1) Business Day's prior notice
     to Sears, Landlord and its representatives shall have access to the Premises for purposes of visual
     inspections, and upon not less than five (5) Business Days prior notice to perform inspections and
     tests of the Property, in each case during normal busine^ hours; provided, however, that in
     emergency circumstances Landlord and its representatives may have immediate access to the
     Premises at any time after making ail reasonable attempts to contact Sears, but otherwise vidthout
     the necessity of prior notice. In conna;tion with any such access or enfry, and in connection with
     any access or entry by or on behalf of Landlord to perform any work permitted or required to be
     performed by Landlord as provided herein, Landlord and its representatives shall (a) not
     unreasonably interfere with or disturb Sears' or any subtenant's, licensee's or other occupant's
     business operations at the Premises, and (b) promptly restore or repair any damage occasioned by
     such access or entry. In addition, notwithstanding anything to the contrary contained herein, and
     without limiting any other provision herein, in connection with any work to be performed by
     Landlord as required or permitted herein, (i) Landlord shall notify Sears within a reasonable time

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    prior to the commencement of such work and afford Sears the opportunity to have a representative
    present during the performance of such work, (ii) Landlord shall use commercially reasonable
     efforts to coordinate the timing, scope and location of such work with Sears, (iii) Landlord shall
    perform such work, or cause such work to be performed, expeditiously and in a good and workman
     like manner using industry standard methods, materials and finishes as reasonably selected by
     Landlord, (iv) all architects, engineers and other construction professionals engaged by or on
    behalf of Landlord shall be experienced, financially responsible and duly licensed in the
    jurisdiction in which the Property is located and charge competitive and otherwise reasonable
    rates, (v) all contractors engaged by or on behalf of Landlord shall be bondable, (vi) Landlord and
     its agents shall comply witii good safety and security practices in performing the work and shall
    keep the Premises free from accumulations of waste and/or rubbish caused by or in connection
    with the work, (vii) Landlord shall, and shall cause its agents, to comply with all applicable laws
     in connection with the work and Landlord shall obtain all permits and authorizations necessary to
    conduct the work and (viii) Landlord shall maintain and cause its construction professionals to
    maintain customary insurance coverage with customary limits with respect to any work performed
    by or on behalf of Landlord. Each party shall indemnify, protect, defend and hold harmless the
    other against Loss resulting from the work performed (or required to be performed) by the
    indemnifying party (including, without limitation, any Loss resulting from the failure of the
    indemnifying party to perform the work as and when required hereunder), which indemnity shall
    survive the Termination Date.
                   8.             Services and Repairs.
                   (a)     Subject to the provisions of this Section 8 and the other terms and conditions
    of this Lease, Sears shall accept the Premises and Property in its existing condition as of the
    Effective Date, "as is," "where is," and "with all faiUts" and vidthout any written or verbal
    representations or warranties whatsoever, whether express or implied, and except for any surviving
    provisions of the PSA and any ancillary documents executed in connection therewith, for the
    period of such survival.
                    (b)     Subject to the foregoing and the following provisions of this Section 8 and
    the otiier tenns and conditions of this Lease, Landlord shall have no obligation to supply any
    services or make any ordinary repairs to the Premises or Property, the parties expressly intending
    that subject to thefiirtherprovisions of this Section 8 and the other terms and conditions of this
    Lease, Sears' current arrangements for all other services and general maintenance and ordinary
    repairs shall continue at Sears' election unaffected during the Term (and Landlord shall not
    interfere with same).

                   (c)     Sears may, but shall have no obligation to, make coital expenditures as
    Sears deems necessary or desirable. Subject to the provisions hereinafter set forth and Section g.
    Sears and not Landlord shall be responsible for all ordinary repair and maintenance of the Premises
    required to keep the Premises in good condition and repair (as reasonably determined by Landlord
    and Sears), and in any event, shall include all repair and maintenance required to comply with
    applicable law and remedy any condition that creates a health and safety concern, or could
    reasonably be expected to result in material damage to the Premises (the "Maintenance
    Stalldard"), however. Landlord, and not Sears shall be responsible for performing any immediate
    required repair and maintenance to the Premises (i.e., to remedy a condition or circumstance that

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     exists as of the Effective Date), and Sears shall reimburse Landlord for any such work completed
     within the Deferred Maintenance Period (as the same may be extended as provided herein), as
     additional rent, but Sears total out-of-pocket costs for such work shall not exceed the Deferred
     Maintenance Amount (as that term is defined below) in the aggregate, and fiarther provided,
     however, the parties' obligations for performing and paying for capital expenditures is further
     provided below. For the avoidance of doubt, the immediate required repair and maintenance work
     described in the preceding sentence is separatefromthe Deferred Maintenance Work and Required
     CapEx and Sears' total costs in connection with the Deferred Maintenance Work and such
     immediate required repair and maintenance shall never exceed the Deferred Maintenance Amount.
                             (i)     Subject to the following terms of this Section 8fc)fi), Sears'
     obligation to maintain the Premises in accordance with the Maintenance Standard does not include
     the obligation to perform any capital expenditures, but includes certain obligations to pay for such
     capital expenditures as set forth below.
                              (A) Notwithstanding anything to the contrary set forth herein, as of the
     date hereof, certain work (collectively, the "Deferred Maintenance Work") more particularly
     described on Scltedttig 3 attached hereto, has not yet been performed by Sears, but is required to
     be performed in order to satisfy the Maintenance Standard. The parties agree that, Landlord, not
     Sears, shall be responsible for perfonming all of the Deferred Maintenance Work, at Sears' sole
     cost and expense, except as set forth below, and that Landlord shall substantially complete such
     work within twelve (12) months of the Effective Date (the "Deferred Maintenance Period");
     provided that the Deferred Maintenance Period shall be extended on a day for day basis for each
     day Landlord is delayed in performing or completing the Deferred Maintenance Work as the result
     of any action or inaction by Sears or any of Sears' agents resulting from the requirements described
     in the last sentence of this paragraph, and any event force majeure, so long as Landlord has notified
     Sears of such event offeree majeure or action or inaction by Sears or its agents that is causing
     such delay. The cost of the Deferred Maintraiance Woric in the aggregate amount of Ei^t Hundred
     Twenty Seven Thousand Dollars ($827,000.00) (the "Deferred Maintenance Amount"), shall be
     deducted from the "Purchase Price" (as defined in the PSA) and credited to Landlord at Closing.
     Landlord shall be responsible for all costs of the Deferred Maintenance Work in excess of the
     Deferred Maintenance Amount, and shall promptiy rettun to Sears any Deferred Maintenance
     Amount which has not been used on or before the expiration of the Deferred Maintenance Period
     (as the same may be extended as provided herein). Landlord shall provide Sears with copies of all
     invoices associated with the Deferred Maintenance Work. Sears reserves the right to audit the
     books and records of Landlord with respect to the Deferred Maintenance Work for a period of one
     (1) year after the expiration of the Deferred Maintenance Period (as the same may be extend«i as
     provided herein). Without limiting any other provision hereof. Landlord shall (i) use commercially
     reasonable efforts to coordinate thetiming,scope and location of the performance of the Deferred
     Maintenance Work with Sears, (ii) perform the Deferred Maintenance Work in a manner which
     does not unreasonably interfere with Sears' use and enjoyment of the Premises (or the use and
     enjoyment of the Premises by any subtenants, licensees or customers of Sears), and (ii) notify
     Sears within a reasonable time prior to the commencement of any Deferred Maintenance Work
     and afford Sears the opportunity to have a representative present during the performance of the
     same, provided that any delay in the performance or completion of the Deferred Maintenance
     Work resulting directly or indirectly from the foregoing requirements shall extend the Deferred
     Maintenance Period as (and subject to the notice) indicated above.

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                             (B)    In the event that a capital expenditure, besides the Deferred
     Maintenance Work, is appropriate or necessary to maintain the Premises consistent with the
     Maintenance Standard, as reasonably determined by Landlord or Sears (a ^'Required CapEx").
      and the aggregate cost of such Required CapEx is reasonably estimated by Sears, together with all
     previous Required CapEx, to exceed $350,000, exclusive of any amounts paid by Sears for
     ordinary repairs and maintenance as provided in Section 8(bl (the "Required CapEx Max"),
     Sears does not have any requirement to perform or fund such Required CapEx, but Sears shall
     notify Landlord of the necessity and the cost (or reasonably estimated cost) of such Required
     CapEx. Landlord shall have the opportunity for a period often (10) business days afl:er receipt of
     such notice from Sears to notify Sears that Landlord irrevocably commits to fimd the amount of
     such Required CapEx in excess of the Required CapEx Max. If Landlord timely commits to fund
     such Required CapEx in excess of the Required CapEx Max, Sears shall make any such Required
     CapEx (subject to the terms and provisions of this Lease and subject to reimbursement by Landlord
     as set forth above); provided that Sears shall reimburse Landlord for the amortized cost of such
     Required C J ^ E X funded by Landlord (amortized over the useful life of the Required CapEx) on a
     monthly basis over the remainder of the Term in the event that the cost of such particular Required
     CapEx in excess of the Required CapEx Max fiinded by Landlord exceeds Two Hxmdred and Fifty
     Thousand Dollars ($2S0,0(X).00), and provided that Sears shall have no responsibility to reimburse
     Landlord for such amortized costs during the first two (2) years of the Term unless such Required
     CapEx in excess of the Required CapEx Max is necessary to address significant health and safety
     concerns in or on the Premises and Sears shall have no obligation to reimburse Landlord for the
     amortized costs of any Required CapEx that costs Two Hundred and Fifty Thousand Dollars
     ($250,000.00) or less. Alternatively, Landlord may elect to instead perform the Required CapEx
     in excess of the Required CapEx Max on behalf of Sears, at Landlord's sole cost and expense,
     subject to the foregoing reimbursement of annual amortized costs. If Landlord elects to perform
     the Required CapEx as provided above. Landlord shall do so on a timely basis and in consultation
     with Sears, If Landlord does not timely irrevocably commit to fUnd the amount of such Required
     CapEx or to perform the Required C^Ex, in each case in excess of the Required CapEx Max, and
     the failure to pcaform the Required CapEx would create a health and safety concern, cause the
     Premises to fail to comply with applicable laws, or otherwise affect Sears ability to conduct
     business from the Premises, then Sears shall have the right to send a Sears Notice and follow the
     procedures set forth in Section 10(b).


                            (i)     Except as expressly set forth above and elsewhere in this Lease,
     Sears shall have no obligation to make any repairs or replacements or capital expenditures of
     whatever nature during the Term (except as and to the extent necessitated by Sears' failure to
     perform general maintenance with respect to the Premises in accordance with paragraph (c)
     above), but Sears may do so at any time at its election. Sears may continue to exercise and enforce
     exclusively any and all rights of the owner or landlord under the Service Contracts (including,
     without limitation, with respect to maintenance and upkeep of the Premises), and Landlord agrees
     to reasonably cooperate with Sears at no cost to Landlord in connection therewith.

                 9.           Insurance; Casualty.

                    (a)    Sem-s shall maintain all personal property and liability insurance programs
     presently in effect or as replaced by Sears from time to time in accordance with its general
     corporate policies throughout the Term; provided, however, at a minimum. Sears shall carry

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     (i) commercial general liability insurance with limits of at least $15,000,000 per occurrence,
     (ii) commercial automobile liability coverage, and (iii) worker's compensation or other similar
     insurance pursuant to all applicable state and local statutes and regulations. Such policies shall
     name "Sears Holdings Corporation" as named insured thereunder and shall name Landlord and, at
     Landlord's request, such other persons or entities of which Sears has been informed in writing, as
     additional insureds thereunder, all as their respective interests may appear. Landlord shall
     maintain a "Lessor's Risk" policy of liability insurance, all-risk property damage insurance
     covering the Premises and other building improvements on the Property (including, but not limited
     to, earthquake and/or flood insiu-ance), pollution legal liability coverage, and such other types and
     amormts of coverage that commercially reasonable and consistent with the types and amounts of
     coverages that would be purchased by prudent owners of properties similar in type to and in the
     general vicinity of the Property, and Sears shall pay to Landlord the costs of insurance maintained
     by Landlord in accordance with this Section 9fa), as set forth in Section 4 above and this Section
     9(a). In addition. Sears shall reimburse Landlord as additional rent for any property insurance
     deductibles incurred during the Term, not to exceed $15,000 per claim. Landlord may maintain
     the foregoing coverages pursuant to a blanket and/or umbrella policy. Upon request from
     Landlord, Sears shall provide certificates of insurance evidencing that Sears is then satisfying the
     insurance requirements set forth above. Upon request from Sears, Landlord shall provide
     certificates of insurance evidencing that Landlord is then satisfying the insurance requirements set
     forth in this Lease.

                       (b)    This Lease shall temunate at the election of Sears upon the occurrence of a
     fire or other casualty ("Casualty") which results in material damage to the Premises (i.e., the
     portion of the Premises that is destroyed or damaged is twenty-five percent (25%) or more of the
     heated floor area of the Premises or the portion of the Premises that is destroyed or damaged
     materially affects Sears' use and occupancy of the Premises, with an appropriate prorated refund
     to Sears on a per-diem basis of all prepaid Monthly Fixed Rent and Additional Rent. If this Lease
     is not terminated pursuant to the preceding sentence, then in the event of a Casualty, all Monthly
     Fixed Rent and Additional Rent with respect to the portion of the heated floor area of the Premises
     which is affected by the Casualty, not usable and not actually used by Sears shall be abated on a
     per-square-foot basis. If this Lease is terminated as provided herein, Sears, at Sears' election, shall
     have a period of up to one hundred twenty (120) Business Days (as elected by Sears), for the
     purpose of winding down its business operations and removing any or all Sears* Property at its
     election from the Premises, but Sears shall pay Rent at the rate set forth herein during the Lease
     Year in which the Casualty occurs for any period beyond such date of tennination that Sears
     remains in possession of the Property (such Rent with respect to the portion of the Premises which
     is damaged shall be abated on a per-square-foot basis). To the extent that the Lease is terminated
     pursuant to this paragraph, neither Sears nor Landlord shall be obligated to make any repairs or
     restorations in the event of damage to the Premises resulting from a Casualty. If this Lease is not
     tenninated pursuant to the preceding sentence, then in the event of a Casualty, Sears shall repair
     and restore the Sears' personal property to the extent deemed necessary or desirable by Sears in
     Sears sole disaretion, but Seai^ shall only be obligated to repair and restore the Premises to the
     extent of proceeds of insurance made available by Landlord or to the extent Landlord pays all costs
     and expenses of such restoration. Notwithstanding the foregoing, this Lease shall not tenninate as
     the result of any Casualty that occurred prior to the Effective Date that did not result in Landlord
     (or its affiliate which is a party to the PSA) having a riglit to terminate the PSA.


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                      (c)    If Landlord shall be advised by a condenming authority or otherwise has
     knowledge of a proposed condemnation or other taking of the Property (or a portion thereof), then
     Landlord shall promptly give notice thereof to Sears. Upon any actual exercise by any
     governmental power (by legal proceedings or otherwise), by any public or quasi-public authority
     or by any other Person having the right of eminent domain or a voluntary sale or transfer by
     Landlord to any of the foregoing either under the threat of exercise of eminent domain or while
     legal proceedings for condemnation are pending with respect to a material portion of the Premises
     (i.e., twenty-five percent (25%) or more of the heated floor area of the Premises or the portion of
     Property taken materially affects the use and occupancy of the Premises) (collectively, a
     "Condemnation Action"), this Lease shall automatically terminate, except as provided below, as
     of the date on which tide to the property subject to the Condemnation Action is vested in the
     condemnor. Sears, at Sears' election, shall have a period of up to one hundred twenty (120)
     Business Days (as elected by Sears) after Sears receives notice of a Condemnation Action (but in
     no event later than the date of the actual Condemnation Action) during which to wind down its
     business operations and remove any or all of Sears' Property at its election from fKe Premises, and
     shall continue to pay Monthly Fixed Rent and Additional Rent for such period after the date tiiis
     Lease automatically terminates. Sears shall not have any right to any portion of the proceeds of
     any award for a Condemnation Action, but shall have the right to make a separate claim for its loss
     of profit, relocation costs, goodwill, signage, personal property and trade fixtures and retain any
     award applicable thereto. Landlord shall cooperate with Sears in coimection with such claim and
     Landlord shall not have any rights to recover any amoimts in connection with such claim.

                 10.        Default.

                            (a)    By Sears.

                             (i)    Defaults by Sears are: (A) failing to timely pay Monthly Fixed Rent
     or Additional Rent, if such Monthly Fixed Rent and/or Additional Rent is not paid within seven
     (7) Business Days alter receipt of written notice fiom Landlord of nonpayment; or (B) failing to
     observe or perform any other material obligations of Sears hereunder for a period of thirty
     (30) days after receipt of written notice from Landlord of such failure (or such longer period as
     may be reasonably required to cure such failure, provided that Sears is diligently prosecuting such
     cure to complietion). In the event of any default by Sears that could reasonably be expected to
     result in material damage to the Premises (which, for the avoidance of doubt, includes Sears'
     failure to perform Required CapEx as and to the extent required in Sgdion 8(o)fi)). Landlord may
     give Sears written notice ("Landlord Notice") of Landlord's intention to cure any or all such
     defaults of Sears. Sears may, within five (5) days of the receipt of a Landlord Notice, either (i)
     bring an action in any court of competent jurisdiction disputing the existence of such default, or
     (ii) notify Landlord of Sears* intention to promptiy pay to Landlord the reasonable cost of curing
     such default(s) upon demand including reasonable documentation of the actual, out of pocket costs
     of Landlord in curing such default(s). If Landlord has proceeded to cure Sears' default after
     expiration of Sears' response period without responsefix>raSears, then Sears shall promptiy pay
     to Landlord such reasonable and documented actual out-of-pocket costs, provided that no action
     by Landlord in a court of competent jurisdiction remains outstanding with respect to the existence
     of such default(s). As Landlord's additional remedy for a default by Sears, Landlord may give
     Sears written notice of Landlord's intention to termmate this Lease (tiie "Default Termination
     Notice") at the end of the expiration of tiiirty (30) days from tiie date of the giving of such Default

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     Termination Notice, and, in such event, this Lease and the Term shall terminate upon the expiration
     of such thirty (30) days with the same effect as if the last of such thirty (30) days was the date
     originally set forth herein for the expiration of the Term. No default shall be deemed to exist under
     clause (B) during any time the curing thereof is prevented by Necessary Curtailments provided
     that upon the cessation of such Necessary Curtailments (subject to Section 9) Sears shall prosecute
     such cure without further delay.
                               (ii)    If (A) Sears becomes bankrupt, makes an assignment for the benefit
     of creditors, or applies for or consents to the appointment of a trustee or receiver for Sears or for
     the major part of its property; (B) a trustee or receiver is appointed for Sears or for the major part
     of its property; or (C) any voluntary or involuntary proceedings arefiledby or against Sears under
     any bankruptcy, insolvency or similar laws. Landlord may give Sears written notice of intention
     to terminate this Lease (the "Bankruptcy Termination Notice") at the end of the expiration of
     thirty (30) daysfixjmthe date of giving such Bankrtiptcy Tennination Notice, and m such event,
     this Lease and the Term shall terminate upon the expiration of such thirty (3 0) days with the same
     effect as if the last of such thirty (30) days was the date originally set forth herein for the expiration
     of the Term.
                           (iii) Upon any default by Sears under this Lease, Landlord may tenninate
    this Lease and recover possession of the Premises. Once Landlord has terminated this Lease, Sears
    must promptiy surrender the Premises to I>andlord. On termination of this Lease, Landlord may
    recover from Sears all of the following; provided, that, in no event shall Sears be liable for any
    consequential, special, punitive or other similar damages:

                                  (A) The worth at the time of the award of any unpaid Rent that
    had been earned at the time of the termination; plus
                                 (B)    The worth at the time of the award of the amount by which
    the unpaid Rent that would have been earned between the time of the tennination and thetimeof
    the award exceeds the amount of xmpaid Rent that Sears proves could reasonably have been
    avoided;

                                 (C) The worth at the time of the award of the amount by which
    the unpaid Rent for the balance of the Term after the time of the award exceeds the amount of
    unpaid Rent that Sears proves could reasonably have been avoided; provided, that. Sears shall be
    deemed to have delivered a Sears Termination Notice as of the earlier of the date of Sears' default
    givingrisetotiietermination of the Lease or the date of any actual delivery of a Sears Termination
    Notice; and

                                  (D) Any other amount necessary to compensate Landlord for all
    the detiiment proximately caused by Sears' failure to perform obligations under tiiis Lease, or
    which in the ordinary course of things would be likely to result therefrom, including any amounts
    incurred by Landlord to cure a default as provided in Section !0(a)(i) above, to the extent not
    otherwise paid by Sears.
                          (iv) No member, partner (general or limited), manager, officer, director,
    shareholder or principal of Sears shall have any personal liability whatsoever for the payment or

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     collection of any judgment requiring the payment of money by Sears in the event of a default by
     Sears with respect to the terms, covenants and conditions of this Lease to be observed and/or
     performed by Sears.

                             (v)    If Landlord does not elect to terminate this Lease on account of any
     default by Sears, Landlord may enforce all of Landlord's rights and remedies under this Lease,
     including the right to recover all Rent as it becomes due; provided, that. Sears shall be deemed to
     have delivered a Sears Termination Notice as of the earlier of the date of Sears' default giving rise
     to Landlord's right to terminate the Lease or the date of any actual delivery of a Sears Termination
     Notice.

                            (vi)   Without regard to the provisions of Section 10fa}(i) above, in the
    event that Sears shall pay any installment of Rent more than five (5) Business Days after the date
    on which such installment is due. Sears shall pay to Landlord a late fee in the amount of two
    percent (2%) of tiie amount iwt timely paid (the "Late Fee") promptiy upon receipt of written
    notice from Landlord demanding payment of tiie same; provided, that not more than once per
    Lease Year, no Late Fee shall be due until such impaid amount is more than twenty (20) calendar
    days past due. The Late Fee shall be Additional Rent, and the right to require it shall be in addition
    to all of Landlord's other rights and remedies hereunder or at law and shall not be construed as
    liquidated damages or as limiting Landlord's remedies in any manner.

                           (b)    By Laadlord.

                              (i)    Defaults by Landlord are (i) faiting to timely pay any amount to be
    paid by Landlord hereunder, if such amount is not paid within seven (7) business days after receipt
    of written notice from Sears of nonpayment; or (ii) failing to observe or perform any other material
    obligations of I^mdlord hereunder for a period of thirty (30) days after receipt of written notice
    from Sears of such failure (or such longer period as may be reasonably required to cure such
    failure, provided that Landlord is diligentiy prosecuting such cure to completion). In the event of
    any default by Landlord, Sears may give Landlord written notice ("Scars Notice") of Sears'
    intention to cure any or all defaults of Landlord. Landlord may, within five (5) days of the receipt
    of a Sears Notice, either (i) bring an action in any court of competent jurisdiction disputing the
    existence of such default, or (ii) notify Sears of Landlord's intention to promptiy pay to Sears the
    reasonable cost of curing such default(s) upon demand including reasonable documentation of the
    actual, out of pocket costs of Sears in curing such defauU(s). If Sears has proceeded to cure
    Landlord's default, tiien following delivery of a second Sears Notice, delivered not less than five
    (5) days after the first Sears Notice related to such default, allowing Landlord five (5) days to repay
    Sears reasonable and documented actual out-of-pocket costs, and, provided that no action by
    Landlord in a court of competent jurisdiction remains outstanding with respect to the existence of
    such default(s). Sears may set off against the Rent all reasonable actual, out-of-pocket, cost of
    curing all defaults of Landlord (including any costs associated witii an action brought by Landlord
    disputing tiie existence of such defauU(s) to the extent such court of competent jurisdiction finds
    that any such default did exist) at tiie end of the expiration of five (5) days from the date of the
    giving of such second Sears Notice; provided, however, that Scars' right to set off shall be capped
    at 50% of Monthly Fixed Rent in any one month, with any additional amounts to be carried forward
    to tiie subsequent month(s). Sears shall also have the option in the Sears Notice, provided that no
    action by Landlord in a court of competent jurisdiction remains outstanding with respect to the


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     existence of such default(s), to terminate this Lease at the end of the expiration of thirty (30) days
     from the date of giving such Sears Notice (or if Landlord is then pursuing the cure of the default,
     then such longer period as may be reasonablyrequiredto cure such default, provided that Landlord
     is diligently prosecuting such cure to completion), and in such event, this Lease and the Term shall,
     except as set forth in the following sentence, terminate upon the expiration of such thirty (30) days
     with the same effect as if the last of such thirty (30) days was the date originally set forth herein
     for the expiration of the Term. If this Lease is terminated as provided herein, Sears, at Sears'
     election, shall have a period of up to one hundred twenty (120) Business Days (as elected by
     Sears), for the purpose of winding down its business operations and removing any or all of Sears'
     Property at its election from tiie Premises, but Sears shall continue to be obligated to pay Rent
     during any period of Sears* occupancy of the Premises. The provisions of this Section 10(b) shall
     survive the expiration or sooner termination of this Lease.
                             (ii)  No member, partner (general or limited), manager, officer, director,
     shareholder or principal of Landlord shall have any personal liability whatsoever for the payment
     or collection of any judgment requiring the payment of money by Landlord in the event of a default
     by Landlord with respect to the terms, covenants and conditions of this "Lease to be observed and/or
     performed by Landlord. In no event shall Landlord be liable for any consequential, special,
     punitive or other similar damages. Landlord's liability hereunder shall be limited to Landlord's
     interests in the Property.

                 11-        Assigningnt/S»bleasing.
                     (a)     Sears shall have the right to sublet (and grant licenses and concessions,
     department arrangements and other rights) all or any portion of its leasehold interest during the
     Term without Landlord's approval; provided, however, that Sears shall not have therightto sublet
     all or any portion of its leasehold interest without Landlord's approval, such approval not to be
     unreasonably withheld, conditioned or delayed, if the tenn of such sublease is greater than two (2)
     years, unless Sears has an earlier termination right pursuant to such sublease (in which case
     Landlord shall not have such an approve right). Notwithstanding the foregoing, Sears shall have
     the right to sublet all or any portion of its leasehold interest to Seller during the Term without
     Landlord's approval. In addition. Sears shall have the right to assign its entire interest in this
     Lease, subject to Landlord's approval, such approval not to be unreasonably withheld, conditioned
     or delayed. In the event of any sublet or assignment, Sears (or any successor) shall remain liable
     to Landlord for the performance of all obligations under this Lease, except as otherwise set forth
     In Section IJib) below.

                     (b)    Notwithstanding the foregoing. Sears shall have the right, without
     l,andlord's approval, to (i) assign this Lease to any Subsidiary of Sears; (ii) assign or transfer all
     of Sears' rights and obligations under this Lease (either directly or indirectly, by operation of law
     or through a merger or other corporate transaction) to any other Person that (1) acquires all or
     substantially all of the assets of Sears, (2) is the surviving entity of a merger with Sears, or
     (3) results from a consolidation, reorganization or recapitalization of Sears with, a solvent
     corporation, partnership or other legal entity; or (iii) assign or transfer all of Sears' rights and
     obligations under this Lease to any Person (if not the named tenant herein, the "Unrelated
     Successor fenant") that has concurrently acquired another similarty situated propertyfromSears
     and a net worth of not less than $25,000,000.00 as of the effective date of such assignment or

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     transfer and the assignee assume in writing the obligations of Sears undo- this Lease which arise
     on and after the date upon which the assignment becomes effective. In the sole case of an
     assignment or transfer in connection with clause (iii) above, Sears shall be released from all
     liability under this Lease. As used in this Lease, (x) "Subsidiary" means, as to any Person, (i) any
     corporation more than fifty percent (50%) of whose stock of any class or classes having by the
     terms thereof ordinary voting power to elect a majority of the directors of such corporation
     (irrespective of whether or not at the time stock of any class or classes of such corporation shall
     have or might have voting power by reason of the happening of any contingency) is at the time of
     determination owned by such Person and/or one or more Subsidiaries of such Person, and (ii) any
     partnership, limited liability company, association, joint venture or other entity in which such
     person and/or one or more Subsidiaries of such person has more than a fifty percent (50%) equity
     interest at the time of determination and (y) "PcrsoR" or "person" means any natural person,
     partnership, limited partnership, limited liability company, corporation, trust, estate, association,
     unincorporated association or other entity. With respect to any assignment or transfer that requires
     Landlord's consent pursuant to Section lUa) above or any assignment or transfer pursuant to this
     ScctionJ.i(b}, Sears shall provide (i) written notice to Landlord no less than ten (10) Business
     Days prior to such assignment or transfer becoming effective, which notice shall identify the
     transferee and include reasonable documentation evidencing such transferee's satisfaction of the
     net worth requirement noted above, if applicable, and (ii) promptiy followmg the date on which
     such assignment or transfer becomes effective, copies of the documentation evidencing the
     assignment of the Lease and the transferee's assumption of Sears' obligations under this Lease.

                   (c)      In the event of a sale or conveyance by Landlord of the Property (or any
    portion thereof), the same shall be made subject to this Lease and Landlord shall only be released
    from any lii^ility under this Lease accruing after the date of any such conveyance, provided the
    assignee shall assume and agree to keep and perfonn all of the terms of this Lease on the part of
    Landlord to perform from and after the date of any such conveyance and a copy of the assignment
    and assumption agreement executed by Landlord and assignee shall be delivered to Sears, upon
    request.

            12.    Oovcrnfntg Law. This Lease shall be governed by and construed in accordance
    with the laws of the state in which the Property is located applicable to agreements made, and to
    be wholly performed, in such state.

          13.  Waiver of Trial bv Jury. LANDLORD AND SEARS EACH HEREBY WAIVE
    TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY
    EITHER OF THEM AGAINST THE OTHER ON ANY MATTERS WHATSOEVER ARISING
    OUT OF, OR IN ANY WAY CONNECTED WITH, THIS LEASE OR THE LANDLORD-
    TENANT RELATIONSHIP, WHETHER ARISING IN CONTRACT, IN TORT OR
    OTHERWISE.

            14.     Binding Effect. Subject to Section 11 above, this Lease shall bind and inure to the
    benefit of the parties hereto and their respective permitted successors and assigns.

           15.     Comt>lcte Agreement; Mo Oral Modification. This Lease may not be altered or
    terminated, nor may its provisions be waived, except in a writing signed by Sears and Landlord.
    This Lease, together with the PSA and the documents referred to in the PSA or executed in

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     connection with the Closing thereunder, represents the entire agreement and understanding of the
     parties with respect to the subject matter hereof, and completely supersedes and integrates any and
     all other promises, understandings and agreements between the parties (including all of the same
     by and between any of the parties' agents and representatives on behalf of the parties), both oral
     and written.

             16.     Counterparts. This Lease may be executed in two or more counterparts and by
     facsimile or electronic signatures which taken together shall constitute collectively one agreement.
     In making proof of this Lease it shall not be necessary to produce or account for more than one
     such counterpart with each party's original, facsimile or electronic signature.

              17-     invalidity. If any term or provision of this Lease shall to any extent or for any
     reason be held invalid, illegal or unenforceable, such invalidity, illegality or unenforceability shall
     not affect any othra* provision of this Lease, but this Lease shall be valid and enforceable to the
     fullest extent pamitted by law, subject to such modification hereof as may be nec^sitated by such
     invalidity, illegality or unenforceability provided that tiie purpose and intent hereof is not in any
     way abrogated.

                 18.        Notices.

                      (a)     Notices shall be either (i) personally delivered, (ii) sent by a nationally
     recognized overnight courier delivery service, or (iii) mailed by United States registered or
     certified mail, return receipt requested, postage prepaid, deposited in a United States post ofBce or
     a depository for the receipt of mail regularly maintained by the post office. If personally delivered,
     then such notice shall be effective when received as evidenced by affidavit of the Person making
     such delivery; if sent by overnight courier delivery service then such notices shall be deemed to
     have been received by the addressee on the next Business Day following the date so sent; if mailed,
     then such notices or other communication shall be deemed to have been received by the addressee
     on the fifth (5th) Business Day following the date deposited with the United States mail. The
     inability to make delivery because of changed address of which no notice was given or by reason
     of rejection or refusal to accept delivery of any notice shall be deemed to be receipt of the notice
     as of the date of such inability to deliver or rejection or refusal to accept. All notices, demands or
     requests made pursuant to, under or by virtue of this Lease must be in writing and addressed as
     follows:

                                   If to Sears:

                                   Sears Holdings Corporation
                                   3333 Beverly Road, Dept. 824RE
                                   Hoffman Estates, IL 60179
                                   Attention: President - Real Estate
                                   Telephone: (847)286-5303

                                   With copies to:

                                   Weil, Gotshal & Manges LLP
                                   767 Fifth Avenue
                                   New York, New York 10153
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                                     Attention: W. Michael Bond, Esq.
                                     Telephone: (212)310-8035
                                     Email: Michael.Bond@Weil.com
                                     and
                                     Sears Holdings Corporation
                                     3333 Beverly Road, Dept. 824RE
                                     Hoffman Estates, IL 60179
                                     Attention: Associate General Counsel - Real Estate
                                     Telephone: (847)286-1719

                                     If to Landlord:

                                     LBA Realty LLC
                                     3347 Michelson Drive, Suite 200
                                     Irvine, California 92612
                                     Attention: Melanie Colbert
                                     Telephone: (949) 955-9345
                                     Email: mcolbert@lbarealty.com

                                     With copies to:
                                     Allen Matkins Leek Gamble Mallory & Natsis LLP
                                     1901 Avenue of the Stars, Suite 1800
                                     Los Angeles, CA 90067
                                     Attention: Anton N. Natsis
                                     Telephone: 310.788.2430
                                     Email tnatsis@allenmatkins.com

                     (b)     All notices (i) shall be deemed to have been given on the datetiiatthe same
     shall have been delivered in accordance with the provisions of this Section and (ii) may be given
     either by a party or by such party's attorneys. Any party may, from time to time, specify as its
     address for purposes of this Lease any other address upon the giving of five (5) days' prior notice
     thereof to the other parties.

            19.     Subject to Existing Agreements. This Lease is subject to all Ancillary Rights and
     Agreements in effect on the Effective Date with respect to the Property to the extent affecting the
     Premises or this Lease.
             20-     Liens. Sears shall not permit any mechanic's, laborer's or materialman's lien or
     other liens or encumbrances to be filed at any time against the Property or any part thereof by
     reason of work performed, materials fiimished or obligations incurred with prior authorization by
     or on behalf of Sears or any agent or contractor claiming by, through or under Sears, which are not
     bonded or discharged within the later of thirty (30) days (a) of filing or (b) Sears' actual notice
     thereof In the event that, following ten (10) Business Days' notice from Landlord to Sears
     indicating that the above thirty (30) day period has expired and Sears has failed to bond or
     discharge to relevant unpermitted lien or encumbrance. Landlord may, at the expense of Sears,

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     bond or discharge such lien or encumbrance; provided, that if Sears notifies Landlord that Sears is
     actively disputing such lien or encumbrance. Landlord may only bond (and not discharge) such
     lien or encumbrance for so long as Sears continues to actively dispute the same.

              2^•     Estoppels. At any time and from time to time, iipon not less than ten (10) Business
     Days' prior request, either party (the "Requesting Party") may request that the otiier party (the
     "Certifying Parf^"} furnish to the Requesting Party (and its lendera or purchasers) a certificate
     (signed by a person duly authorized to sign on behalf of the Certifying Party) certifying as follows:
     (a) that this Leas^ is unmodified and in full force and effect (or that this Lease is in fiill force and
     effect and modified and setting forth the modifications), (b) the dates to which the Monthly Fixed
     Rent and any Additional Rent have been paid and the amount thereof then payable, (c) tiiat the
     Certifying Party does not know of any default in the performance of any provisions of this Lease
     or specifying any default of which the Certifying Party may have knowledge and stating what
     action the defaulting party is taking or proposes to take with respect thereto and (d) any other
     infonnation reasonably requested by the Requesting Party.

             22.     If Sears is publicly traded, the terms of this Section 22 shall not apply. Otherwise,
     within thirty (30) days of Landlord's request. Sears will furnish its internally prepared financial
     statements. Landlord will not disclose any aspect of Sears' financial statements that Sears
     designates to Landlord as confidential except to Landlord's mortgagee or prospective mortgagees
     or purchasers of the Property or if required by law or court order. Sears shall not be required to
     deliver the financial statKnents required under this Section 22 more than once in any twelve (12)
     month period and only in connection with a sale or refinancing of die Property.

               23.     Indemnification; Waiver of Subrogation.

                     (a)    Each party shall indemnify, defend and hold the other harmless fix)m and
     against all claims, actions, damages, liability and expense, including reasonable attorneys' fees
     ("Loss"), in connection with bodily injury, the loss of life, personal injury and/or damage to
     property to the extent arising fixim or out of any occurrence in or upon the Property to the extent
     caused by any act or omission of the indemnifVing party and its agents, contractors, employees,
     servants or licensees, except to the extent that such Loss is caused by the wrongful or negligent
     acts or omissions of the other party, its agents, contractors, employees, servants or licensees (as to
     all of which Loss the party charged with such acts or omissions shall indemnify, defend and hold
     harmless the other party).

                     (b)     Em;h party releases and waives any and every claim and right of recovery
     against the other which arises or may arise in its favor and against the other party during the Term
     for any and all loss of or damage to any of its property located within or upon or constituting a part
     of its respective premises, which loss or damage is customarily covered by the property insurance
     carried by each party under this Lease, or would have been covered if each party had carried the
     insurance that such party is required to carry under this Lease. This mutual waiver shall be in
     addition to, and not in limitation or derogation of, any other waiver or release contained in this
     Lease with respect to any loss of or damage to property of the parties. Landlord and Sears agree
     to furnish to each insurance company which has or will issue property damage policies on its
     premises, notice of the terms of the mutual waivers and to have tiie insurance policies properly
     endorsed, if necessary, to acknowledge the subrogation waivers.

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                    (c)     The provisions of this Section shall survive the Termination Date.

              24.     Hold Over. No holding over by Sears nor acceptance of Monthly Fixed Rent,
     Additional Rent or other charges by Landlord shall operate as a renewal or extension of this Lease
     without the written consent of Landlord. Should Sears hold over after "ffie Termination Date
     without the consent of Landlord, this Lease shall continue in force from month to month, subject
     to all of the provisions hereof; provided that, after the first thirty (30) days of holdover Sears'
     Monthly Fixed Rent shall be equal to one hundred twenty-five percent (125%) of the Monthly
     Fix«i Rent otherwise due as of the date of the expiration or earlier termination of this Lease, and
     after the next thirty (30) days of holdover. Sears' Monthly Fixed Rent shall be equal to one hundred
     fifty percent (150%) of the Monthly Fixed Rent otherwise due as of tiie date of the expiration or
     earlier termination of this Lease. If Sears holds over without Landlord's express written consent,
     and tenders payment of rent for any period beyond the Termination Date by way of check (whether
     directly to Landlord, its agents, or to a lock box) or wire transfer. Sears acknowledges and agrees
     that the cashing of such check or acceptance of such wire shall be considered inadvertent and not
     be construed as creating a month-to-month tenancy, provided Landlord refunds such payment to
     Sears promptly upon learning that such check has been cashed or wire fransfer received. Nothing
     contained in this Section 24 shall be construed as consent by Landlord to any holding over by
     Sears, and Landlord expressly reserves the right to require Sears to surrender possession of the
     Premises to Landlord as provided in this Lease upon the expiration or other termination of this
     Lease.

             25.    Sears Flnaiicing. Sears may continue to finance all receivables, inventory and
     other personal property and enter into financing leases of property and equipment, in the ordinary
     course of business.

            26.     Sub<wdl«ation; Qnlcl EnJavment.

                    (a)      Subject to and expressly conditioned upon the provisions of S^^on 26(b).
     including receipt of a commercially reasonable (as reasonably determined by Sears) subordination,
     nondistuibance and attornment agreement (an "SNDA") from each Landlord's mortgagee and each
     ground lessor, this Lease and all rights of Sears hereunder h^eby are made and shall be subject
     and subordinate in all respects to the lien of all present and future ground leases (collectively,
     "Ground Leases") and mortgages (collectively, "Landlord's Mortgaacs") which may now or
     hereafter encumber Landlord's interest in the Property; provided that no such Ground Leases or
     Landlord's Mortgages shall increase any liabilities or obligations nor decrease any rights or
     remedies of Sears under or with respect to this Lease. Sears shall respond to any request for signing
     an SNDA within thirty (30) days after request therefor.

                     (b)    Notwithstanding the foregoing or any such subordination, or any other
     provision contained in this Lease to the contrary, so long as Sears shall not be in default of the
     express provisions of this Lease beyond any applicable grace, notice or cure period, Landlord
     covenants and agrees that Sears shall peacefully and quietly possess and enjoy the Premises and
     all rights of Sears under this Lease in accordance with all terms and conditions hereof (without
     reference to Section 26{a) hereof), without let, hindrance or disturbance and free fh)m all rights
     and claims of Landlord and all of all Persons claiming by or through Landlord, including under
     any such Ground Leases and Landlord's Mortgages.

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             27.      Attonicvs' Fees. In tiie event of litigation between the parties to enforce this Lease
     or if any legal action is instituted as a result of a default by either party under this Lease that is not
     cured within the applicable cure period, the prevailing party in such action shall be entitied to
     recover from, or be reimbursed by the other party for, its reasonable and actual attorneys' fees and
     costs through all levels of proceedings.

             28.     Lease Not to Be Recorded; Leaseback Memorandum. The parties agree that
     this Lease shall not be recorded, but the parties shall record a leaseback memorandum concurrently
     with the execution hereof

             29.     PIscrcfiofi. Except as otherwise expressly provided herein, any agreement,
     approval, consent or other determination shall not be effective unless it is in writing and shall be
     in the sole and absolute discretion of such party.

             30.    Section Headings. The headings of the various sections of this Lease have been
     inserted only for puiposes of convenience, are not part of this Lease and shall not be deemed in
     any manner to modify, explain, expand or restrict any of the provisions of this Lease.

                  31.          General DcfiaJtloaal Provisions.

                     (a)    Unless the context of tiiis Lease otherwise requires, (i) words of any gender
     are deemed to include each other gender, (ii) words using the singular or plural number also
     include the plural or singular number respectively, (iii) the terms "liereof," "herein," "hereby,"
     "hereto," and derivative or similar words refer to this entire Lease, (iv) the terms "Article,"
     "Section," "Subsection," "Paragraph" or "clause'* refer to the specified Article, Section,
     Subsection, Paragraph or clause of this Lease, and (v) all refo-ences to "dollars" or "$" refer to
     currency of the United States of America. The term "including" as used herein shall in all instances
     mean "including, but not limited to."


                   (b)     Initially c^italized terms used in this Lease are defined on the respective
     pages indicated in the following Hst and if not defined in this Lease shall have tiie respective
     meanings ascribed to them in the PSA.

     Additional Rmt                                       4             Eastdil                               22
     Ancillary Rights and Agreements...                  .7             Effective Date                          2
     Annual Fixed Rent                                    4             GOB Signage                             6
     Bankruptcy Termination Notice                      13              Ground Leases                     ....21
     Business Day                                         3             Landlord..                              2
     Casualty              .,                          .11              Landlord Notice                 ......13
     Certifying Party                                   19              Landlord Retained Leases                2
     Closing                                              2             Landlord Termination Notice         ....3
     Condemnation Action                ,              .12              Landlord's Mortgages                  21
     Default Termination Notice.....                    13              Late Fee                              14
     Deferred Maintenance Amount                          9             Lease                                   2
     Deferred Maintenance Period                        ..9             Lease Year                            ..3
     Deferred Maintenance Work                            9             Loss                                  20

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     Maintenance Standard                                     9          Required CapEx Max                   10
     Monthly Fixed Rent                                 ,....4           Sears                                  2
     Necessary Curtailments                                   6          Sears Notice                         14
     person                                                 16           Sears'Property                         3
     Premises                                  ,.            ,2          Seller                                 2
     Prepaid Rent          ,                                  2          SNDA                                 21
     Property           ,.                                    2          Subsidiary               ,           16
     PSA                                                      2          Taxes                         .........4
     Rent                                               .....5           Term                                   3
     Representatives                                   ......2           Termination Date                       3
     Requesting Party.                                     J9            Unrelated Successor Tenant            16
     Required CapEx          „                             10

             32.      Joint Drafting. Each of Sears and Landlord has been represented by counsel in
     the negotiation and execution of this Lease, and each of Sears and Landlord had input in the
     drafting of this Lease. For all purposes, this Lease shall be considered to have been jointiy drafted
     by Sears and Landlord.
           33.    Other Docnmcnts. Each of the parties agrees to sign such other and further
     documents as may be necessary or appropriate to carry outtiieintentions expressed in this Lease.
                    34.           Brokers.
                     (a)     Sears represents and warrants to Landlord that Sears has not dealt with any
     broker, salesman, finder or consultant with respect to this Lease or thefransactionscontemplated
     hereby other than Eastdil Secured C^EnstM"). Sears shall pay Eastdil in accordance with Section
     10.3(a) of the PSA. Sears agrees to indemnify, protect, defend and hold Landlord harmless from
     and against all claims resulting from Sears' breach of the foregoing representation.

                    (b)     Landlord represents and warrants to Sears that neither Landlord nor any
     Affiliate of Landlord has dealt with any broker, salesman, finder or consultant with respect to this
     Lease or thefransactionscontemplated hereby. Landlord agrees to indemnify, protect, defend and
     hold Sears harmlessfromand against all claims resultingfromLandlord's breach of the foregoing
     representation.
            34.      Con0detitfaH<y. Sears and Landlord agree to keep and hold this Lease and the
     terms and conditions contained herein strictly confidential and neither Sears nor Landlord will
     disclose or permit any other Person to disclose the terms and conditions of this Lease to any other
     Person without the prior written authorization of the other party. Notwithstanding the foregoing,
     Sears and Landlord may disclose this Lease and/or the terms and conditions hereof to Sears' and
     Landlord's respective agents, consultants, affiliates, directors, accountants, advisors, partners,
     employees and legal counsel ("Rcnrcseii 1 atives") provided that such Representatives have a
     legitimate n c ^ to know and agree to keep the terms and conditions strictly confidential in
     accordance with this Section 35.




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             35.     Additional State^pccific Provisions. The provisions and/or remedies which are
     set forth on the attached Exhibit t> shall be deemed a part of and included within the terms and
     conditions of this Lease.
                 36.               :. OntiieEff^gliitfi Date..;                                     mt
     equawot =$2,385,798.90 (i.e., twelve (12) months of Monthly Fixed Rent otherwise due dunng
     months seven (7) through eighteen (18) of the Term) (tiie '^Prepaid Rent"), as prepaid rent due
     pidibthis Lease for months seven (7) through eighteen (18) of the Term. Provided Sears is not
     then in default under this Lease beyond any applicable notice or cure period. Landlord shall apply'"
     the Prepaid Rent to Sears' obligation to pay Monthly Fixed Rent as and when due until the entire
     teount of the Prepaid Rent has been exhausted; provided, however, if this Lease is terminated due
     to a Landlord default, casualty, condemnation, or the early tennination rights described %.
     Section 3 above, then Landlord shall promptly return the unapplied portion of the Prepaid Rent to


                                      [Signatures appear on the following pages]




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                     IN WITNESS WHEREOF, Landlord and Sears have executed and delivered this
      Lease to each other as of the Effective Date.

                                                    SEARS:
                                                    SEARS HOLDINGS CORPORATION,
                                                    a Delaware corporation


                                                    By:

                                                    Title: V f<3L R ' < » ^ o ^ f ^ Cl^f^/d k c




      [SIGNATURE PAGE TO LEASE (1 IMESON PARK BOULEVARD, JACKSONVILLE, FL]
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                                         LANDLORD:
                                         1 IMESON PARK BLVD, LLC,
                                         a Delaware limited liability company
                                         By:     1 Imeson Park Blvd Holding, LLC,
                                                a Delaware Hmited liability conq>any,
                                                its sole Member and Manager

                                                By;    LBA Fund VI-MM Industrial, LLC,
                                                       a Delaware Hmited liability con^any,
                                                       its sole Member and Manager



                                                          Name:
                                                          Title:




       [SIGNATURE PAGE TO LEASE (1 IMESON PARK BOULEVARD. JACKSONVILLE, FL)]
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                                                    EXHIBIT A

                                                  Legal Description



     FEE PARCEL:

     A parcel ofland lying in Section 13, Township 1 South, Range 26 East, and in Sections 7 and 18,
     Township I South, Range 27 East, Jacksonville, Duval County, Florida, said parcel ofland being
     more particularly described as follows: For Point of Reference commence at an iron pipe at the
     northwest comer of said Section 18 and run South 88° 35' 52" East 108.57 feet to a point on the
     southeasteriy right-of-way line of the proposed right-of-way of North Main Street Drive for the
     Point of Beginning.

    From the Point of Beginning thus described run North 55" 09* 30" East along said proposed
    soutiieasterly right-of-way 125.41 feet to a Point of Curvature; run tiience in a northeasterly
    direction along the arc of a curve in said proposed southeasterly right-of-way line, said curve being
    concave to the northwest and having a radius of 568.82 feet, a chord distance of 224,59 feet to a
    point, the bearing of the aforementioned chord being North 43° 46' 21" East; run thence Due East
    along a line having a "Y" coordinated value of 2,215,000 based on the Florida State Plane
    Coordinate System for the eastern portion of Florida, a distance of 1,956.40 feet to a Point of
    Curvature; run thence in a northeasterly direction along the arc of a curve concave to the northwest
    and having a radius of 508.34 feet, a chord distance of 491.30 feet to a point, the bearing of the
    aforementioned chord being North 61° 06' 10" East; run tiience South 0° 01' 07" West, 1,620.75
    feet to a Point of Curvature; run thence in a southwesterly direction along the arc of a curve
    concave to the northwest and having a radius of 605.92 feet, a chord distance of 528.36 feet to the
    Point of Tangency of said curve, the bearing of the aforementioned chord being South 25° 52' 02"
    West; run tiience South 51 ° 42' 57'* West 696.21 feet to a point on the northerly right-of-way line
    of proposed Imeson Boulevard; run thence the following courses and distances along the northerly
    ri^t-of-way line of said proposed Imeson Boulevard; first course. North 89° 59' 59" West
     1,633.73 feet to a Point of Curvature; second course, along the arc of a curve concave to the north
    and having a radius of 894.93 feet, a chord bearing and distance of North 73° 12' 44" West 516.95
    f^t to apoint of tangency; ttiird course. North 56° 25' 30" West 310.02 feet to a Point of Curvature;
    fourth course, along the arc of a curve concave to the northeast and having a radius of 134.59 feet,
    a chord distance and bearing of North 26° 02' 41" West 136.13 feet to a Point of Compound Curve
    on the easterly right-of-way Ime of said proposed North Main Street Drive; run thence the
    following courses and distances along the casteriy right-of-way line of said proposed North Main
    Street Drive: first course, along the arc of a curve concave to the east and having a radius of 683.58
    feet, a chord bearing and distance of North 8° 29' 49" East 99.21 feet to a Point of Tangency;
    second course. North 12° 39' 30" East 268.14 feet to a Point of Curvature; third course, along the
    arc of a curve concave to the east and having a radius of 2,829.86 feet a chord bearing and distance
    of Nortii 14° 30' 50" East 183.26 feet to the Point of Tangency; fourth course. North 16'= 22' 10"
    East 769.64 feet to a Point of Curvature; fifth course, along the arc of a curve concave to the
    soutiieast and having a mdius of 626.47 feet, a chord bearing and distance of North 35° 45' 52"
    East 416.07 feet to the Point of Tangency and the Point of Beginning of this description.



    nn55»w>*                                         EXHIBIT A
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     Exception therefrom those lands described in Special Warranty Deed recorded in Official Records
     Book 6886, Page 649, and Special Warranty Deed recorded in OfScial Records Book 7831, Page
     1607, oftilePublic Records of Duval County, Florida.



     EASEMENT PARCEL:
     TOGETHER WITH an easement for utilities service and maintenance as reserved in the Deed
     recorded April 15,1994 in Official Records Book 7831, Page 1607, over the land conveyed in said
     deed.




                                                   EXHIBIT A
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                                              EXHIBIT B

    The "Premises" means the entirety of the Property together with all improvements located thereon.




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                                                     EXHIBIT C
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                                                     EXHIBIT D
                                               State Specific Provisions


                  ^•      Badon Gas. The following notification is provided under Section 404.056(6),
                 Florida Statutes: Radon is a naturally occurring radioactive gas that, when it has
                 accumulated in a building in sufficient quantities, may present healthrisksto persons who
                 are exposed to it over time. Levels of radon that exceed federal and state guidelines have
                 been found in buildings in Florida. Additional infonnation regarding radon and radon
                 testing may be obtained from your county public health unit.




    78i,«.o.-WLA                                      EXHIBIT D
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                                                 SCHEDULE 1
                                            Landlord Retained Leases

     None,




                                                  SCHEDULE 1
     78l!i5.06/WLA                                      ,
     >77M5-OW01/?-50-!8?siv'cjw                        -1"
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                                     SCHEDULE 2
                                    Annual Fixed Rent


               Lease Year           Annual I<txed Rent   Montlilv Fixed Rent
               1 ^                      $2,350,540.80            $195,878.40
               2                        $2,421,057.02            $201,754.75
               3                        $2,493,688.73            $207,807.39
               4                        $2,568,499.40            $214,041.62
               5                        $2,645,554.38            $220,462.86
               6                        $2,724,921.01            $227,076.75
               7                        $2,806,668.64            $233,889.05
               8                        $2,890,868.70            $240,905.72
               9                        $2,977,594.76            $248,132.90
               10                       $3,066,922.60            $255,576.88




                                      SCHEDULE 2
                                          -1-
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                                                 SCHEDULES
                                         DEFERRED MAINTENANCE WORK

           •     the No. 2 chilled and induced draft cooling tower located within the Premises with a
                 comparable lower as determined by Landlord.

           •     Fire Life Safety - replace approximately 20% of the fire sprinkler piping within the entirety
                 of the Premises.

           •     Other - renovate 2 restrooms within the Premises to cause such restrooms to comply with
                 all applicable state and federal laws, ordinances, and building codes, including without
                 limitation the ADA; install 1 wheelchair accessible urinal in the employee restroom in
                 compHance with the foregoing applicable laws; add 1 van accessible parking space in the
                 Property parking facilities in an exact location reasonably determined by Landlord_and
                 corresponding signage; reconfigure existing parking spaces in the Property parking
                 facilities to include a marked van accessible aisle




                                                    SCHEDULE 3
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